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20                                   UNITED STATES DISTRICT COURT
21                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
22                                            OAKLAND DIVISION
23   In re NVIDIA CORPORATION                            Case No. 4:18-cv-07669-HSG
     SECURITIES LITIGATION
24                                                       FIRST AMENDED CONSOLIDATED CLASS
                                                         ACTION COMPLAINT FOR VIOLATIONS
25
                                                         OF THE FEDERAL SECURITIES LAWS
26   This Document Relates to: All Actions.
                                                         DEMAND FOR JURY TRIAL
27
                                                         Judge: Hon. Haywood S. Gilliam, Jr.
28                                                       Courtroom: 2

                                                       Case No. 4:18-cv-07669-HSG
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 1          Lead Plaintiffs E. Öhman J:or Fonder AB (“Öhman Fonder”) and Stichting Pensioenfonds PGB

 2   (“PGB,” and together with Öhman Fonder, “Lead Plaintiffs”) bring this action individually and on behalf

 3   of all others who purchased or otherwise acquired the common stock of NVIDIA Corporation (“NVIDIA”

 4   or the “Company”) between May 10, 2017, and November 14, 2018 (the “Class Period”), and were

 5   damaged thereby.

 6          Lead Plaintiffs allege the following based upon personal knowledge as to themselves and their own

 7   acts and upon information and belief as to all other matters. Lead Plaintiffs’ information and belief are

 8   based on the ongoing independent investigation of their undersigned counsel. This investigation includes

 9   review and analysis of, among other things: (i) NVIDIA’s public filings with the U.S. Securities and

10   Exchange Commission (“SEC”); (ii) research reports by securities and financial analysts; (iii) videos and

11   transcripts of NVIDIA’s conference calls with analysts and investors; (iv) Company presentations, press

12   releases, and reports; (v) news and media reports concerning NVIDIA and other facts related to this action;

13   (vi) price and volume data for NVIDIA securities; (vii) information from consultations with relevant

14   experts; and (viii) information provided by former NVIDIA employees, some of whom expressed concern

15   about providing Lead Counsel with information for fear of retaliation by NVIDIA. Lead Counsel’s

16   investigation into the factual allegations continues, and many of the relevant facts are known only by

17   Defendants or are exclusively within their custody or control. Lead Plaintiffs believe that substantial

18   additional evidentiary support is likely to exist for the allegations set forth herein after a reasonable

19   opportunity for discovery.

20   I.     INTRODUCTION
21          1.      Defendant NVIDIA is a multinational technology company that purports to have invented

22   in 1999 the graphics processing unit (“GPU”), a type of processor that electronics manufacturers

23   incorporate into their devices, including graphics cards for video games. NVIDIA’s flagship product line

24   is its “GeForce” brand of GPUs, a favorite among video-game enthusiasts (“gamers”). NVIDIA’s Gaming

25   segment—the business unit that developed, marketed, and sold the GeForce product line—is the

26   Company’s most important segment by far, generating more revenues than its four other segments

27   combined.

28

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 1          2.      In early 2017, NVIDIA faced an unusual problem: its flagship product was flying off the

 2   shelves. Under normal circumstances, such a trend would be cheered. But the enormous sales growth

 3   owed not to an increase in demand from gamers (NVIDIA’s traditional consumer), but rather to bands of

 4   online prospectors who were buying up the processors by the thousands and deploying them in massive

 5   datacenters to solve complex mathematical problems in pursuit of digital tokens called “cryptocurrencies.”

 6          3.      These so-called “crypto-miners” were chasing a modern-day gold rush unfolding in

 7   cyberspace and based on an esoteric new technology called “blockchain.” Instead of picks and shovels,

 8   the crypto-miners relied on computing power and processors. They discovered that GeForce GPUs were

 9   particularly adept at quickly processing the computations required by cryptocurrency mining—and at a

10   fraction of the cost of more powerful chips designed for scientific and industrial settings. As the financial

11   rewards of cryptocurrency mining escalated rapidly, so, too, did demand for GeForce GPUs.

12          4.      The new cryptocurrency boom served as rocket fuel for NVIDIA’s Gaming segment,

13   supercharging the revenues of the Company’s most-watched segment by the middle of 2017. Yet

14   NVIDIA’s top executives—led by Defendants CEO Jensen Huang, CFO Collette Kress, and Senior Vice

15   President and Head of Gaming Jeff Fisher—knew that the spike in GeForce GPU sales was not sustainable.

16   NVIDIA’s chief rival in the GPU market, Advance Micro Devices (“AMD”), had been burned in a different

17   cryptocurrency boom earlier that decade. AMD had watched its sales numbers—and its share price—

18   skyrocket as crypto-miners hoarded its GPUs, only to see both plunge when cryptocurrency prices crashed

19   and demand from miners evaporated. AMD’s experience taught investors that cryptocurrency-related

20   revenues were unreliable, as miners’ demand for GPUs was directly linked to the wildly volatile prices of

21   the cryptocurrencies for which they labored.

22          5.      With the cryptocurrency markets again catching fire and GeForce sales rising, analysts

23   began to question whether NVIDIA would fall prey to the boom-and-bust cycle that AMD had suffered

24   several years before. Defendants refused to publicly acknowledge that NVIDIA’s proliferating sales were

25   the result of fickle cryptocurrency miners, lest investors discount the Company’s stock to reflect the

26   volatility of crypto-related demand. Instead, Defendants opted for a strategy that would capitalize on

27   miners’ fervent demand for GeForce GPUs while falsely telling investors that the spike in GeForce sales

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 1   came from gamers, not miners, and making it appear that NVIDIA’s core Gaming business was immune

 2   from the volatility of the cryptocurrency markets.

 3          6.      The strategy involved two steps. First, in May 2017, NVIDIA launched a special GPU

 4   specifically designed for cryptocurrency mining (the “Crypto SKU”). Critically, NVIDIA did not report
 5   Crypto SKU sales in Gaming segment revenues, which made up more than 50% of NVIDIA’s sales year

 6   after year. Rather, the Company publicly reported the Crypto SKU sales in the “Original Equipment

 7   Manufacturer & Intellectual Property” (“OEM”) segment, an ancillary catch-all segment that contributed

 8   just 5% to 10% of Company revenues. Second, Defendants repeatedly assured the market—often in direct

 9   response to analyst questions—that sales to miners consisted almost entirely of its Crypto SKU, claiming

10   that NVIDIA satisfied the “vast . . . majority of the cryptocurrency demand out of that specialized
11   product.” Indeed, the only revenues that Defendants publicly disclosed as cryptocurrency-related were
12   sales of the Crypto SKU. Launching the Crypto SKU and reporting its sales in the OEM segment thus

13   allowed Defendants to claim that any mining-related revenues were cordoned off in OEM, creating the

14   impression that NVIDIA’s crown jewel Gaming business was insulated from crypto-related volatility (and

15   the crash in demand that would follow the cryptocurrency markets’ inevitable bust).

16          7.      As the Class Period continued, Defendants repeatedly emphasized that cryptocurrency was

17   not a material driver of NVIDIA’s rising revenues, attributing the gains to strong demand from gamers
18   while ignoring or falsely trivializing the sizable impact of sales to crypto-miners. For example, when

19   Defendant Huang was interviewed by VentureBeat in November 2017, he was explicitly asked whether

20   “cryptocurrency is driving all of your success.” Huang rebuffed the idea, stating, “crypto is small for us
21   but not 0. . . . It’s large for somebody else. But it is small for us.” Later that month, in response to a
22   Credit Suisse analyst’s question about the impact of cryptocurrency-related demand on NVIDIA’s Gaming

23   segment revenues, Defendant Kress stated that it was “some small amount” but that the “majority” of the
24   Company’s cryptocurrency-related revenues stemmed from the Crypto SKU (and were therefore reported

25   in the OEM segment). Similarly, statements in NVIDIA’s SEC filings ascribed the Company’s swelling

26   revenues to robust gaming demand, not cryptocurrency-related demand. The strategy had its intended

27   effect, with the financial press reporting that NVIDIA was making specific “cards designed for this use

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 1   [i.e., cryptocurrency mining] so that the surging digital currency demand doesn’t affect its ability to serve

 2   the lucrative PC gaming market.”

 3          8.      In truth, and as Defendants fully understood at the time, cryptocurrency mining was driving

 4   the spike in GeForce sales (and therefore Gaming segment revenues). Contrary to Defendants’ public

 5   statements, the newly launched Crypto SKU had not absorbed anywhere close to a majority of crypto-

 6   miners’ demand for NVIDIA’s GPUs. Miners were buying up GeForce GPUs in droves, often in bulk

 7   purchases of thousands or tens of thousands at a time.

 8          9.      Throughout the Class Period, Defendants Huang, Fisher, Kress, and other senior managers

 9   personally monitored, analyzed, and exploited this phenomenon of cryptocurrency-driven GeForce

10   demand. They did so through multiple internal data sources that illuminated the crypto-related sales from

11   a variety of angles. This information included: (a) sales data specifically identifying and quantifying

12   global GeForce sales to crypto-miners that was consolidated in a centralized database that Huang accessed;

13   (b) quarterly internal meetings in which NVIDIA Vice Presidents presented crypto-specific GeForce sales

14   data to Huang; (c) weekly reports sent directly to Huang at his request detailing miners’ voracious demand

15   for GeForce GPUs from regions around the world; (d) usage data from a software program bundled with

16   GeForce GPUs called “GeForce Experience” which reflected how the processors were being utilized by

17   end-users and was compiled in monthly reports sent to Huang and accessed by Kress; (e) weekly sales

18   emails quantifying GeForce sales to miners in NVIDIA’s largest market, sent to Fisher and other members

19   of the GeForce executive team; and (f) an internal study, commissioned by Fisher, proving that NVIDIA

20   was measuring GeForce sales to miners. All of these data streams made Defendants aware that crypto-
21   miners, not gamers, were behind NVIDIA’s surging GeForce sales.

22          10.     Defendants began monitoring crypto-related sales well before the Class Period began.

23   Indeed, prior to the Class Period, Huang explained: “We monitor the inventory in the channel

24   continuously, not only from the guys that buy from us, but where the parts go after that—who they sell to,
25   and who they sell to,” confirming “we monitor sellout in the channel literally every day.” By late 2016,
26   NVIDIA’s sales force in China—the Company’s largest market by far, accounting for more revenues than

27   the rest of the world combined—had started to track crypto-related GeForce sales based on transaction data

28   provided by NVIDIA’s manufacturing partners. NVIDIA paid its partners to collect this data. The data

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 1   expressly quantified GeForce sales to crypto-miners, who began to make bulk purchases of tens of

 2   thousands of GPUs at a time from these partners. This data, which, as recounted by a former Senior

 3   Account Manager, “obsessed” NVIDIA’s U.S. executive team, was sent in weekly reports to top executives

 4   and consolidated in NVIDIA’s centralized sales database. Huang personally reviewed the sales data in this

 5   centralized sales database, a fact documented by a Company-produced video shown at an internal meeting

 6   attended by top executives. The sales data demonstrated that, throughout 2017, 60% to 70% of NVIDIA’s

 7   GeForce revenue in China came from sales to crypto-miners, not gamers. Given the importance of both
 8   the GeForce product line and the China market to NVIDIA’s overall business, this staggering percentage

 9   revealed that a substantial portion of the Company’s total Gaming-segment revenues actually came from

10   crypto-related sales in that one region alone.

11          11.     Unable to ignore the data pouring into NVIDIA’s headquarters, Defendants solicited

12   additional information from the field. In March 2017, Fisher and his top deputies traveled to China to

13   receive a presentation from the sales team in which the explosion in cryptocurrency-related sales was

14   addressed head-on. These executives were told that sales to crypto-miners had recently caused GeForce

15   sales to nearly double in NVIDIA’s critical China market (which included mainland China, Hong Kong,

16   and Taiwan). Later, in August 2017, Fisher privately commissioned a study of crypto-related demand in

17   China to be presented to top GeForce executives. Among other internal data, the resulting slide deck noted

18   that during the first eight months of 2017, 1.5 million GeForce gaming GPUs had been sold to crypto-

19   miners in China, producing hundreds of millions of dollars in crypto-related GeForce sales from that region

20   alone. The presentation also forecasted that crypto-related sales in the China market would reach 2 million

21   GeForce GPUs annually, yielding hundreds of millions of dollars in additional Gaming segment revenues.

22          12.     Of course, the cryptocurrency phenomenon was not limited to the China market, as

23   Defendants understood at the time. Indeed, Huang personally received and reviewed detailed accounts

24   from all over the world of surging GeForce sales to crypto-miners on a weekly basis throughout the Class

25   Period. Ever eager to keep his pulse on NVIDIA’s performance around the world, Huang—described by

26   former employees as the consummate “micromanager”—had instituted an internal reporting system called

27   “Top 5,” which required senior sales and marketing personnel from all of NVIDIA’s regions to send a

28   summary of current market conditions, trends, and events to Huang and other top executives every Friday.

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 1   Huang carved out time on Sundays to review the reports, often responding directly to the senders seeking

 2   additional information, with the expectation that his questions would be answered Monday morning. A

 3   former senior marketing executive from NVIDIA’s European division, who was on the Top 5 distribution

 4   list, recalled that virtually every salesperson discussed how crypto-driven demand was fueling the boom

 5   in GeForce sales and that nearly all sales reports during the second half of 2017 and first half of 2018

 6   discussed crypto-mining and the explosion in sales to miners, which the Company had achieved with little

 7   effort or marketing budget. The emails also discussed the acute shortages of GeForce GPUs that the

 8   miners’ insatiable demand had created, which former employees recalled were pronounced in regions as

 9   diverse as China, the United States, Russia, and India. Huang also attended quarterly meetings at which

10   NVIDIA Vice Presidents presented crypto-specific GeForce sales data, relying on the miners’ avid demand

11   for GeForce GPUs to justify their sales projections.

12          13.     In addition to this deluge of sales figures and reports from the field, internal technical data

13   confirmed that crypto-miners had overrun the market for GeForce GPUs. NVIDIA used a software

14   program bundled with its GeForce GPUs to track how consumers were using their GeForce GPUs

15   throughout the Class Period. The program, called “GeForce Experience,” transmitted usage data from

16   users back to NVIDIA, enabling the Company to determine whether consumers were using each GPU for

17   gaming or for mining. As one former manager put it, “We actually know this data.” Just two months
18   before the Class Period began, when an analyst asked how NVIDIA “pars[ed]” its sales data, Kress

19   confirmed her own access to this information and that NVIDIA used the GeForce Experience data to

20   identify to whether sales were going to gamers, stating, “we can actually see [users] through our GeForce

21   Experience . . . . So we have an ability to actually look to say, ‘Yes, the intended use of those overall
22   gaming platforms are actually being used for gaming.’” NVIDIA’s former senior marketing executive
23   from the European division explained that, indeed, the GeForce Experience usage data was maintained in

24   a central database and reported every month directly to Huang, who personally reviewed the data for each

25   region. The same executive, who saw the monthly reports, stated that the usage data reflected that over

26   60% of GeForce sales went to miners during the Class Period—a figure in line with what the centralized

27   sales database reflected was happening in NVIDIA’s largest and most important market, China.

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 1          14.     As miners’ ravenous appetite for GeForce GPUs became clear internally, Fisher told his

 2   team that NVIDIA’s growing reliance on fickle crypto-driven demand was “dangerous.” Yet his warning,
 3   while prescient, did nothing to quell NVIDIA’s enthusiasm for the revenues that crypto-mining was

 4   generating for the Gaming segment. To the contrary, Defendants not only knew about, but encouraged
 5   large-scale crypto-mining with GeForce GPUs throughout the Class Period. In fact, the China presentation

 6   that Fisher had commissioned detailed NVIDIA’s plan to directly target the largest miners in China, going

 7   so far as to list ten large crypto-mining operations by name next to their contact information and projected

 8   monthly demand in thousands of units. Meanwhile, at the quarterly sales meetings, Huang and other top

 9   executives discussed business opportunities targeting large commercial miners, including a significant deal

10   in 2017 with Genesis Mining, a leading crypto-mining operation based in Europe.

11          15.     Then, in early 2018, NVIDIA accommodated large-scale mining operations when it issued

12   a revised End User License Agreement for its GeForce product line. The revised agreement prohibited

13   commercial datacenters from using GeForce GPUs, a move designed to push corporate customers out of

14   cheaper GeForce gaming GPUs into far more expensive “professional” processors. Yet the new agreement

15   also contained an important carve-out provision that allowed datacenters to continue using GeForce GPUs

16   if they were used for crypto-mining. The carve-out further demonstrated that Defendants knew at the time
17   that the Crypto SKU was not satisfying the “vast majority” of crypto-related demand and that industrialized
18   mining firms were in fact buying up GeForce GPUs on a massive scale.

19          16.     In the spring of 2018, the cryptocurrency markets started to weaken considerably. With the

20   value of cryptocurrencies in freefall by the summer of 2018, crypto-mining became unprofitable, and the

21   miners’ demand for NVIDIA GeForce GPUs evaporated. So, too, did GeForce sales. The façade of the

22   Gaming segment’s invulnerable growth began to crumble.

23          17.     On August 10, 2018, Defendants were forced to acknowledge that “a great deal” of
24   cryptocurrency miners had bought GeForce Gaming GPUs in recent months, revealing to investors that

25   NVIDIA’s crypto-related revenues had not been contained in its OEM segment, but rather had a
26   substantial—and negative—impact on its core Gaming business. NVIDIA’s share price fell on the news,

27   with analysts blaming the drop on the collapse of cryptocurrency mining. Defendants also disclosed that

28   GeForce inventories had ballooned more than 36% to $1.09 billion, reflecting the glut of supply that

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 1   followed the end of crypto-related demand. Yet Defendants falsely reassured the market that the swelling

 2   inventory would not be a problem, as demand from gamers would pick up the slack created by the

 3   disappearance of crypto-related sales. Analysts again credited these assurances.

 4          18.     On November 15, 2018, the relevant truth behind Defendants’ deception was more fully

 5   revealed. Defendants announced that NVIDIA had missed analyst expectations for the third quarter and

 6   was revising its revenue guidance for the fourth quarter to reflect a 7% decline year-over-year. Attributing
 7   the reversal to a “sharp falloff in crypto demand” for NVIDIA’s Gaming GPUs, NVIDIA revealed that it
 8   would make no shipments into the distribution channel of—and thus recognize no revenue for—the mid-

 9   range GeForce GPUs that miners had favored. The promised demand from gamers simply did not exist,

10   and it became fully apparent to the market that, contrary to Defendants’ earlier representations, NVIDIA’s

11   revenues were unduly dependent on cryptocurrency mining. On the news, NVIDIA’s stock plunged 28.5%

12   over two trading sessions, falling from $202.39 to $144.70 per share on heavy trading volume.

13          19.     Market observers were shocked by the revelations. One analyst noted that the disclosures

14   stood “in sharp contrast to the comments [by NVIDIA’s executives] at the last earnings call.” Another,

15   from Deutsche Bank, stated that the results “call into question what the true growth rate of Gaming was/is,”

16   while a reporter told Defendant Huang incredulously, “I . . . thought [cryptocurrency] was never really

17   more than a tenth of your revenue.”       Another observer was more blunt: “NVIDIA lied about its
18   cryptocurrency earnings to avoid [a] stock crash,” positing that “the steep falls [in NVIDIA’s stock price]
19   [we]re a strong incentive for Nvidia to mask large fluctuations in revenue.” The remarks echoed those
20   of the former Senior Account Manager in China, who told Lead Counsel, “NVIDIA sure lied to everyone.”

21          20.     After the dust cleared, securities analysts sought to probe the extent to which NVIDIA’s

22   Gaming revenues had relied on GeForce sales to crypto-miners during the Class Period. In January 2019,

23   for example, RBC Capital Markets (“RBC”) produced a report that compared the $602 million in reported

24   Crypto SKU sales in the OEM segment—the only revenues that Defendants had publicly attributed to
25   crypto-mining—to what it believed the Company really had earned from the crypto-boom. The analysis

26   concluded that NVIDIA had in fact earned $1.95 billion from crypto-mining from February 2017 to July

27   2018. In other words, RBC found that Defendants understated crypto-related revenue by $1.35 billion.

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 1          21.    To follow up on these reports, which were supported by the accounts of former NVIDIA

 2   employees, Lead Plaintiffs retained Prysm Group, an economic consulting firm specializing in

 3   cryptocurrency markets, to conduct an independent analysis of NVIDIA’s crypto-related revenues

 4   specifically during the Class Period (which was three months shorter than the period analyzed by RBC).

 5   The analysis relied on cryptocurrency-specific market share data from an industry research firm that

 6   Defendants have called “the leading market research company tracking multimedia and graphics

 7   technology,” as well as NVIDIA’s own internal estimates of its share of crypto-related GPU sales. This

 8   analysis confirmed that Defendants had grossly understated its crypto-related revenues. Specifically,

 9   Prysm Group economists determined that NVIDIA had earned at least $1.728 billion from sales to miners

10   from May 2017 through July 2018—meaning that Defendants understated NVIDIA’s crypto-related GPU

11   sales by $1.126 billion during the Class Period, all of which was contained in the Company’s Gaming
12   segment.

13          22.    These results, which are set forth below, confirm that Defendants falsely claimed, quarter

14   after quarter, that the Gaming segment’s sales growth resulted from strong organic demand from gamers

15   while misleading the market into believing that NVIDIA’s dependence on cryptocurrency-related revenues

16   was “small” and that any exposure to that inherently volatile demand was contained in its Crypto SKU and

17   ancillary OEM segment. In truth, the Company’s gains from the crypto-boom had been substantial, due

18   largely to an intense but transient source of demand for NVIDIA’s Gaming segment GeForce GPUs that

19   Defendants tracked fastidiously throughout the Class Period, yet chose to hide from investors.

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 1                             FY 20181                             FY 2019
 2                 2Q18        3Q18          4Q18            1Q19          2Q19           Total
 3                                NVIDIA’s Reported Revenues for Crypto SKU
 4                 $150m       $70m          $75m            $289m         $18m          $602m

 5                                    Actual Cryptocurrency-Related Revenues

 6                 $349m       $299m        $541m            $364m         $175m         $1,728m

 7                           Difference Between Reported Revenues for Crypto SKU
                                  and Actual Cryptocurrency-Related Revenues
 8
                   $199m       $229m        $466m            $75m          $157m         $1,126m
 9

10           23.    Through this action, Lead Plaintiffs seek to hold Defendants accountable to NVIDIA’s
11   shareholders for their deceit.
12   II.     JURISDICTION AND VENUE
13           24.    This Court has jurisdiction over the subject matter of this action under Section 27 of the
14   Exchange Act, 15 U.S.C. § 78aa. In addition, because this is a civil action arising under the laws of the
15   United States, this Court has jurisdiction under 28 U.S.C. §§ 1331 and 1337.
16           25.    Venue is proper in this District under 28 U.S.C. § 1391(b) and Section 27 of the Exchange
17   Act, 15 U.S.C. § 78aa. NVIDIA is headquartered and conducts business in this District, and many of the
18   acts and transactions that constitute violations of law complained of herein, including the dissemination to
19   the public of untrue statements of material facts, occurred in this District.
20           26.    In connection with the acts alleged herein, Defendants, directly or indirectly, used the means
21   and instrumentalities of interstate commerce, including the mails, interstate telephone communications,
22   and the facilities of a national securities exchange.
23   III.    PARTIES
24           Lead Plaintiffs
25           27.    Co-Lead Plaintiff Öhman Fonder is a large, independent institutional investor responsible
26   for overseeing approximately $9.2 billion in assets. Founded in 1906, Öhman Fonder is headquartered in
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28     NVIDIA’s fiscal year runs from February 1 to January 31. Fiscal year 2018 ran from February 1, 2017,
     to January 31, 2018; and fiscal year 2019 ran from February 1, 2018, to January 31, 2019.

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 1   Stockholm, Sweden. As set forth in the certification attached hereto as Exhibit A, Öhman Fonder

 2   purchased NVIDIA stock and suffered damages as a result of the securities law violations alleged herein.

 3   By order dated May 2, 2019, the Court appointed Öhman Fonder a Lead Plaintiff in this action.

 4            28.    Co-Lead Plaintiff PGB is a multisector pension fund headquartered in Amsterdam,

 5   Netherlands. Founded in 1953 by employers and employees from the graphics arts industries, it now

 6   provides pensions and benefits for more than 311,000 people and manages approximately $30 billion in

 7   assets. As set forth in the previously submitted certification (ECF No. 113, Ex. B), PGB purchased

 8   NVIDIA stock and suffered damages as a result of the securities law violations alleged herein. By order

 9   dated May 2, 2019, the Court appointed PGB a Lead Plaintiff in this action.

10            Corporate Defendant
11            29.    Defendant NVIDIA is a multinational technology company that purports to have invented

12   in 1999 the GPU, a type of processor designed “to solve some of the most complex problems in computer

13   science.”2 NVIDIA remains one of the largest participants in the GPU market, with over 80% market

14   share. While NVIDIA sells its GPUs around the world, a majority of its revenues come from China and

15   Taiwan. NVIDIA is incorporated in Delaware and maintains its corporate headquarters at 2788 San Tomas

16   Expressway, Santa Clara, California. Its stock trades on the NASDAQ, under ticker symbol “NVDA.” As

17   of November 9, 2018, there were 610 million shares of NVIDIA stock outstanding.

18            Individual Defendants
19            30.    Defendant Jensen Huang (“Huang”) co-founded NVIDIA in 1993; he has since served as

20   the Company’s President and Chief Executive Officer and as a member of its Board of Directors. Huang

21   holds undergraduate and master’s degrees in electrical engineering and worked in technical capacities at

22   LSI Logic and Advanced Micro Devices prior to co-founding NVIDIA. Throughout the Class Period,

23   Huang signed NVIDIA’s filings with the SEC and regularly spoke directly to investors about the details of

24   the Company’s performance and the extent to which cryptocurrencies drove it, reassuring the market that

25   “our strategy is to stay very, very close to the market” and “[w]e understand its dynamics really well.”

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         NVIDIA Form 10-K filed February 21, 2019 (“FY 2018 10-K”), at 4.

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 1          31.    Defendant Colette Kress (“Kress”) is, and was at all relevant times, Executive Vice

 2   President and Chief Financial Officer of NVIDIA. Prior to joining NVIDIA, Kress held finance positions

 3   at Cisco, Microsoft, and Texas Instruments. Throughout the Class Period, Kress signed NVIDIA’s SEC

 4   filings and repeatedly spoke to investors in detail about NVIDIA’s GPU business, including concerning

 5   NVIDIA’s strategies and results related to cryptocurrency mining.

 6          32.    Defendant Jeff Fisher (“Fisher,” and together with Huang and Kress, the “Individual

 7   Defendants”) is currently an Executive Vice President of NVIDIA and has served as NVIDIA’s SVP of

 8   the GeForce Business Unit since 2008. Besides Huang and Kress, Fisher is NVIDIA’s most prominent

 9   executive. Described as a “company stalwart” by NVIDIA insiders, Fisher was identified as NVIDIA’s

10   “first salesman” in a 2017 Fortune article. As Head of Gaming throughout the Class Period and one of

11   five figures who represented the Company at its annual Investor Days (along with Huang, Kress, and the

12   heads of NVIDIA’s Automotive and Datacenter segments), Fisher spoke to investors about the

13   performance of the Gaming business. Huang explained at the May 10, 2017 Investor Day that Fisher was

14   “one of NVIDIA’s oldest employees,” remarking, “Fish and I grew up together.” Fisher’s office was no

15   more than 100 yards from Huang’s office on the same floor at NVIDIA’s headquarters in Santa Clara, and

16   he met with Huang weekly.

17   IV.    FORMER EMPLOYEES REFERRED TO IN THE COMPLAINT
18          33.    FE 1 was employed by NVIDIA for over 10 years as a Senior Account Manager in China,

19   leaving the Company in December 2017. As one of approximately four account managers in the China

20   market (NVIDIA’s largest), FE 1 managed several large accounts for the Company’s “partners” (i.e., the

21   device manufacturers to whom NVIDIA sold most of its products), primarily selling NVIDIA’s GeForce

22   Gaming GPUs. FE 1 described his primary responsibilities as negotiating sales contracts, interacting with

23   partner companies, and monitoring GeForce sales, pricing, inventory, and usage in China. FE 1 reported

24   to Senior Sales Director Howard Jiang, who reported to Senior Director for China David Zhang in the

25   United States, who reported to VP Worldwide GeForce Sales John Milner, who reported to EVP/SVP and

26   head of Gaming Jeff Fisher, who reported to CEO Jensen Huang. As detailed below, FE 1 directly,

27   personally, and repeatedly communicated with Jiang, Zhang, Milner, and Fisher about the explosion of

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 1   cryptocurrency-related demand for GeForce GPUs and spoke with colleagues who attended meetings at

 2   which crypto-related sales data was presented to Huang.

 3            34.   FE 2 was a Senior Products Director who worked at NVIDIA in Santa Clara, California.

 4   FE 2 worked at NVIDIA from several years before the Class Period began to May 2017. FE 2 was

 5   primarily involved in software product management and commercialization, focused particularly on

 6   software designed to make hardware run more efficiently and effectively. FE 2 reported first to VP and

 7   General Manager Jeff Brown, then to VP and General Manager Bob Pette, both of whom reported directly

 8   to CEO Huang. FE 2 personally met with Huang on a monthly basis while at NVIDIA and maintained

 9   contact with former senior colleagues after his departure.

10            35.   FE 3 occupied different marketing positions at NVIDIA, working at the company between

11   January 2011 and November 2018, with a nine-month hiatus beginning in July 2013. FE 3 served as a

12   Senior Director of Marketing for the Americas at NVIDIA, then as Senior Director for Consumer

13   Marketing in Latin America. FE 3’s responsibilities included marketing and public relations strategy, with

14   a particular focus on promoting GeForce Gaming GPUs. Throughout the Class Period, FE 3 was based in

15   Santa Clara, California.

16            36.   FE 4 worked as a Community Manager in Moscow, Russia, from 2015 through

17   August 2018. FE 4’s job was to promote NVIDIA’s Gaming products to the Russian market through social

18   media and by hosting promotional events. FE 4 was also responsible for obtaining information about

19   demand for NVIDIA products through conversations with retailers.

20            37.   FE 5 was NVIDIA’s Head of Consumer Marketing for South Asia from April 2014 to June

21   2019. In that role, FE 5 directed consumer marketing for all of South Asia, which, despite its location, was

22   part of NVIDIA’s European market and overseen by the Director of Europe. FE 5 was based in Bengaluru,

23   Karnataka, India. FE 5 was included on a weekly email distribution chain with Huang, attended quarterly

24   meetings with regional leaders tasked with preparing summaries of sales data, trends, and forecasts for

25   Huang, and presented GeForce sales data to Huang personally during one of Huang’s multiple visits to

26   India.

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 1   V.      FACTUAL ALLEGATIONS
 2           A.        NVIDIA’s Core Gaming Segment and GeForce GPU Product Line
 3           38.       NVIDIA’s primary business is the design of GPUs, a type of processor designed “to solve
 4   some of the most complex problems in computer science.” GPUs are distinct from the central processing

 5   unit (“CPU”) of a computer, which handles basic instructions and assigns more complicated tasks to other,

 6   more specialized chips. The GPU is able to perform multiple calculations at the same time, acting as a co-

 7   processor that accelerates the CPU by performing computationally intensive tasks more efficiently,

 8   rendering complex images, animations, and video for display far more quickly than a CPU could alone.

 9   Although developed for graphics-rendering and used most frequently in video gaming, GPUs have since

10   expanded to encompass a variety of other applications, including non-graphics tasks requiring repetitive
11   computations.
12           39.       NVIDIA’s GPUs are divided among five “specialized markets,” which industry analysts
13   frequently refer to as “segments.”3 The five segments are: (1) Gaming (consumer-market chips designed
14   to improve video-game applications, mainly comprised of NVIDIA’s flagship “GeForce” GPU line);

15   (2) Original Equipment Manufacturer & IP (“OEM”) (including low-end GPUs sold into devices such as

16   tablets and phones, as well as intellectual-property assets); (3) Datacenter (including “Tesla” GPUs,

17   intended for high-end professional and scientific applications); (4) Professional Visualization (including

18   “Quadro” GPUs, serving design and digital-content customers); and (5) Automotive (serving self-driving

19   vehicle developers).

20           40.       Of these segments, Gaming is NVIDIA’s most important—by a large margin. In every

21   quarter of the Class Period, Gaming revenues exceeded those of the four other segments combined.

22   GeForce GPUs were the Gaming segment’s crown jewel and the product line on which the Company built

23   its reputation.

24           41.       Defendant Jeff Fisher—NVIDIA’s EVP and SVP of the GeForce business unit—heads the

25   vital Gaming segment and has served in that capacity since 2008. By NVIDIA’s own description, he is

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     3
       In addition to distributing financial results among these five “specialized markets,” NVIDIA also reports
27   revenue between two “business segments” (GPU and Tegra Processor), a distinction of little significance
28   to this dispute. Because industry analysts focus on revenue distribution among the five specialized markets
     and frequently refer to these different business units as “segments,” that convention is maintained here.

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 1   “responsible for the positioning and go-to-market strategy of GeForce GPUs, the No. 1 consumer graphics

 2   brand.” At all times material to this dispute, Fisher reported directly to Huang. One of Fisher’s key direct

 3   reports was John Milner, whose title throughout the Class Period was VP Worldwide GeForce Sales.

 4          42.     With limited exceptions, NVIDIA does not sell its GPUs directly to consumers (i.e., end-

 5   users). Instead, it sells them to other device manufacturers, which NVIDIA calls “partners.” These

 6   partners build NVIDIA’s GPUs into their own products, such as graphics cards and computers. The

 7   partners then sell these products into their respective distribution channels, which could include

 8   wholesalers, retailers, or internet platforms.

 9          43.     While NVIDIA typically does not sell its GPUs directly to end-users, its executive team

10   closely monitors the distribution chain of its products, including sales out of its distribution channel (so-

11   called “sellout”). Indeed, as far back as 2007, CEO Jensen Huang was quoted telling securities analysts at

12   an industry conference, “We monitor the inventory in the channel continuously, not only from the guys

13   that buy from us, but where the parts go after that—who they sell to, and who they sell to.” That close
14   monitoring continued. In 2015, Huang told investors during an earnings call, “we monitor sellout in the
15   channel literally every day. And so that’s how we manage inventory. We don’t manage inventory on
16   selling; we manage inventory on sellout.” As described below, Defendants tracked who purchased

17   NVIDIA’s GeForce GPUs not only through detailed sales data obtained from NVIDIA’s distribution

18   partners, but also through sophisticated software sold with its GPUs that informed Defendants precisely

19   how end-users were utilizing them.

20          B.      Background on Cryptocurrency Mining
21          44.     Blockchain, and the digital currencies that this technology spawned, emerged from the

22   embers of the financial crisis of 2007–2008, when faith in the banking system and its effective regulation

23   was badly shaken. Positing an alternative to the financial institutions that had governed commerce for

24   centuries, Blockchain’s founders envisioned a decentralized, global network whose participants would join

25   in peer-to-peer exchanges using novel digital currencies, their transactions facilitated by the internet, and

26   secured by modern cryptology.

27          45.     The fundamental concept at the core of blockchain is its function as a decentralized,

28   immutable ledger. Unlike traditional economies in which central banks or private financial institutions

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 1   keep track of transactions, in a blockchain, pending transactions are announced publicly (albeit

 2   anonymously) to the entire network, verified by certain network participants, and then recorded on a public

 3   ledger.

 4             46.   The verifiers fulfill this task by first consolidating and encrypting the data of a group of

 5   transactions using the cryptographic technique of “hashing”—applying an algorithm to convert a string of

 6   text into an inscrutable, random sequence of numbers and letters, always of the same length. Then, the

 7   users compete to solve a difficult mathematical puzzle through laborious trial-and-error work performed

 8   by their computers to obtain a qualifying “hash output,” which allows the “block” of new transactions to

 9   be added to the “chain” of prior transactions (hence the name, “blockchain”). The successful verifier is

10   rewarded with a new issue of some of the network’s tokens—the network’s version of currency—which

11   provide the critical incentive to ensure that transactions in the network continue to be verified.

12             47.   Because of their underlying reliance on cryptography, the digital tokens circulating on these

13   networks are called “cryptocurrencies.” The two most popular of these tokens are Bitcoin and Ether, which

14   are used on the Bitcoin and Ethereum networks, respectively. The laborious work to verify pending

15   transactions—and thereby unearth new currency—is called “crypto-mining” (or simply “mining”), while

16   the verifiers are called “miners.”

17             48.   Although mining continually increases the supply of tokens in blockchain networks like

18   Bitcoin and Ethereum, these increases are restricted to set intervals. For instance, a specific number of

19   Bitcoins (6.25 as of May 11, 2020) is released about every 10 minutes. On the Ethereum network, roughly

20   two Ethers are released about every 13 seconds.

21             49.   To keep these intervals constant as new miners join the network, the networks increase the

22   difficulty of the puzzles verifiers have to solve in order to add transactions to the public ledger. When the

23   difficulty level increases, miners must conduct more trial-and-error work to obtain a qualifying hash output.

24   Miners with more computing power, who can perform those calculations more quickly and on a larger

25   scale, typically beat out the rest. This feature of crypto-mining has resulted in a technological arms race

26   and encouraged the consolidation of mining activity among those who can stockpile more and better

27   hardware with which to mine.

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 1             50.   Indeed, when Bitcoin, Ethereum, and other significant blockchain networks first began,

 2   individual miners could mine the new cryptocurrencies using home computers in their basements. Quickly,

 3   however, competition increased, and with it more powerful equipment was deployed. As a recent

 4   University of Cambridge study noted, “[t]he mining sector has evolved in a short time from a hobby activity

 5   performed on personal computers into a professional and capital-intensive industry with its own value

 6   chain.”

 7             51.   This evolution is demonstrated by the exponential growth in the major blockchain networks’

 8   “hash rates,” which reflect the number of hashing computations performed by an entire network each

 9   second. A network’s hash rate stands as the best measure of computing power dedicated to mining that

10   network’s cryptocurrency, and it provides knowledgeable observers the information needed to estimate

11   how many computers are working on the network. By way of example, the Bitcoin network hash rate grew

12   from approximately 7 million H/s (hashes per second) on January 1, 2010, to about 62 quintillion hashes
13   per second—nearly a trillion times as much—by August 2018. Following the release of Ether in July
14   2015, the Ethereum network hash rate grew from 11.5 billion H/s to 2.5 trillion H/s in just nine months,

15   only to increase further orders of magnitude in the years that followed.

16             52.   Proliferating hash rates were driven as much by rapid advances in mining hardware as

17   anything else. While early crypto-mining was conducted using the CPUs of home computers, miners soon

18   turned to GPUs, which could execute the computationally intensive work of crypto-mining hundreds of

19   times faster. As miners began to buy multiple GPUs and assemble them into “mining rigs” dedicated for

20   that purpose, demand for GPUs skyrocketed. See infra Fig. A. Mining “farms”—datacenters housing

21   rows of mining rigs—sprouted up soon after. As each rig contains thousands of dollars in equipment, the

22   start-up costs of mining today are substantial. Mining has therefore become the domain primarily of for-

23   profit business associations able to pool capital.

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      Figure A. A mining rig comprised of NVIDIA GPUs
 8    Source: NVIDIA Corp.

 9          53.       Besides the hardware costs, the single greatest expense in mining cryptocurrency is

10   electricity. The power required to mine cryptocurrencies—and to cool the machines doing that work—is

11   staggering. As The Economist reported in 2018, recent studies have estimated the power consumption

12   related to Bitcoin mining alone at 22 terawatt-hours per year—nearly the same as all of Ireland.
13   Consequently, mining farms have consolidated in particular regions of the world where energy costs are

14   lower and the climate cooler—China, Russia, and the Nordic countries chief among them. See infra

15   Figs. B and C.

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        Figure B. A GPU mining farm in China                     Figure C. An Ether mining farm in Iceland
22      Source: NVIDIA Corp.                                     Source: Genesis Mining

23          54.       Of course, when cryptocurrency prices fall below a certain point, mining ceases to be

24   profitable, no matter the location. Ignoring the sunk costs of the hardware, miners will compare their rate

25   of return (measured as the number of tokens mined over a certain period multiplied by the prevailing market

26   price for those tokens) with their costs over the same period (most significantly, the price of electricity and

27   equipment storage). When returns exceed costs, miners continue mining; when costs exceed returns,

28   miners stop. Miners of Ether (and other cryptocurrencies that are mined using GPUs) have the added

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 1   benefit of being able to recoup some of their sunk costs by selling used GPUs on the secondary market to

 2   gamers when mining becomes unprofitable.

 3             55.   Because cryptocurrency prices have swung wildly over their short history, the profitability

 4   of mining has followed suit. As a result, the demand for mining hardware—including GPUs—has proven

 5   extremely volatile.

 6             56.   In the early years of Bitcoin mining, GPUs were the hardware of choice.4 This period

 7   coincided with a pronounced bubble in the Bitcoin market in 2013–2014. In early May 2013, Bitcoin was

 8   trading at about $91 per token, with a total market capitalization of $1.01 billion. Six months later, it hit

 9   its then-all-time high of around $1,200 per token and a market capitalization of over $14 billion.

10             57.   At the time, GPUs made by AMD, NVIDIA’s chief rival, were viewed as the gold standard

11   in Bitcoin mining. Demand for AMD GPUs skyrocketed alongside Bitcoin prices during the second half

12   of 2013, with processors that usually sold for $200–300 per unit selling for $600–800 at the height of the

13   bubble.

14             58.   While it experienced a temporary boon, AMD soon saw the downside of crypto-mania. As

15   the price of Bitcoin dropped more than 70% in the five months after its peak, so, too, did demand for

16   AMD’s GPUs—a problem compounded by miners dumping used AMD GPUs on the secondary market at

17   steep discounts. As one analyst covering AMD noted, “I talked to miners who said[,] ‘The moment the

18   price collapsed and the economics went against mining, I just immediately sold all of my stuff on eBay at

19   whatever price I could get.’” AMD’s revenues suffered as its crypto-related sales evaporated.

20             59.   In 2016, signs of a new bubble appeared. The price of Bitcoin rallied from about $230 per

21   coin in September 2015 to nearly $1,000 by the end of 2016. Meanwhile, an array of new coins came

22   online by way of “initial coin offerings” (capital raises by which an entrepreneurial technologist pitches an

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       Bitcoin miners ultimately moved on from GPUs to application specific integrated circuits (“ASICs”)
26   designed specifically for executing that network’s specific hashing algorithm. GPUs, however, retained
     their dominance in mining Ether and certain other cryptocurrencies, for which ASICs could not be used.
27   Because this dispute involves sales of NVIDIA GPUs, the focus is on the mining of Ether, the largest of
28   the “altcoins” for which GPU mining is still profitable, although others, such as Z-Cash and Monero,
     affected demand for NVIDIA’s products as well.

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 1   idea for a blockchain-based venture, solicits funding, and in return grants investors some quantity of the

 2   venture’s digital token).

 3          60.     The most significant of these new cryptocurrencies was the Ethereum network and its

 4   cryptocurrency, Ether, which rose from $0 to over $10 per token in the several months following its July

 5   2015 launch. Then, in the spring of 2017, Ether began a meteoric climb that temporarily peaked at over

 6   $400 per token in June, with a 24-hour trading volume exceeding $3.1 billion. Several months later, in

 7   January 2018, Ether peaked at over $1,400 per token—an increase of more than 13,000% in a single year.

 8   Other cryptocurrencies mined with GPUs witnessed similarly dramatic increases in value.             These

 9   skyrocketing valuations made mining enormously profitable, and once again caused a massive surge in

10   demand for GPUs.

11          61.     During this run up in GPU-mined cryptocurrency prices, miners turned to NVIDIA—

12   specifically, its enormously popular line of GeForce Gaming GPUs—and began to purchase GeForce

13   GPUs in droves. Favorites were the GeForce GTX 1060, 1070, 1070Ti, and 1080Ti models.

14          62.     As cryptocurrency prices rose in the months before and during the early part of the Class

15   Period, Defendants made a concerted effort to publicly soothe investor concerns that NVIDIA’s

16   extraordinary Gaming-segment results were actually being driven by cryptocurrency mining. As detailed

17   below, they did so in three primary ways, which the market accepted. First, Defendants represented to

18   investors that revenues from sales of its products to cryptocurrency miners were insignificant overall.

19   Second, Defendants asserted that NVIDIA’s soaring Gaming revenues indeed resulted from sales “for

20   gaming”—not cryptocurrency mining. And third, Defendants represented that NVIDIA’s cryptocurrency-

21   related revenues were contained primarily in the Company’s OEM reporting segment, when in fact, almost

22   two-thirds of such revenue came from GeForce sales recorded in its Gaming segment.                  These
23   representations were materially false and misleading and concealed from investors the enormous risk to

24   NVIDIA’s financial results posed by the Company’s outsized exposure to crypto-mining.

25
            C.      Defendants Repeatedly Denied the Importance of Sales to Cryptocurrency Miners in
26                  Driving NVIDIA’s Revenues

27          63.     Throughout the Class Period, NVIDIA reported skyrocketing revenues in its core Gaming

28   segment. For example, on May 9, 2017, NVIDIA reported first quarter sales for its Gaming segment of

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 1   $1.02 billion—representing a 49% year-over-year increase and 52.8% of total revenues. The Company

 2   reported similarly spectacular numbers each quarter for the next year, including on May 10, 2018, when it

 3   announced that Gaming-segment revenues were $1.723 billion—a 68% year-over-year increase, and

 4   approximately 2.5 times the revenue for that segment two years prior.

 5          64.     Although they were impressed with the growth in Gaming revenues, investors and analysts

 6   alike questioned whether those revenues truly derived from GeForce GPU sales to gamers or, rather, were

 7   from sales of GeForce GPUs to cryptocurrency miners, whose demand was at risk of disappearing if the

 8   economics of mining turned negative.

 9          65.     To better understand the riskiness of NVIDIA’s reported Gaming revenues, and whether

10   the explosive growth in those numbers was sustainable, analysts pressed Defendants for assurances that

11   the surge in sales was not being driven by cryptocurrency-mining demand for GeForce GPUs. For
12   example, during the Company’s September 6, 2017 presentation at the Citi 2017 Global Technology

13   Conference, Citigroup analyst Atif Malik asked Kress to describe “what steps NVIDIA [has] taken to avoid

14   cannibalization of the core gaming market” as a result of increased demand from cryptocurrency miners.

15   During NVIDIA’s November 9, 2017 earnings call, the same analyst asked Huang and Kress to explain

16   “why should we think that crypto won’t impact the gaming demand in the future?”

17          66.     Defendants assuaged these concerns by repeatedly telling investors throughout the Class

18   Period that they were closely monitoring the cryptocurrency market’s effect on NVIDIA and that what

19   Defendants’ learned through that careful monitoring was that cryptocurrency-related sales contributed only

20   a “small” portion to the Company’s overall revenues. For example, in response to an analyst question

21   during NVIDIA’s August 10, 2017 earnings call asking how Huang planned to manage the volatility of the

22   cryptocurrency market, Huang told investors that “our strategy is to stay very, very close to the market.

23   We understand its dynamics really well . . . . We stay very close to the market. We know its every single
24   move and we know its dynamics.” Then, when VentureBeat noted on November 10, 2017, that “[i]t
25   seemed like people had the impression that cryptocurrency is driving all of your success,” Huang called

26   the impression “wrong” and stated that cryptocurrency’s effect on NVIDIA’s sales was “small but not
27   zero. . . It’s going to remain small for us.”
28

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 1          67.     Huang reiterated those assurances in an interview published in Barron’s the day after

 2   NVIDIA’s February 8, 2018 earnings call. In the interview, Huang discussed cryptocurrencies at length

 3   with the reporter and again downplayed the significance of cryptocurrencies for NVIDIA’s financial

 4   performance. Specifically, the author of the article explained that “[w]hen I asked Huang if he wanted to

 5   point out anything in particular about the report and outlook, Huang began, ‘Clearly there’s been a lot of

 6   talk about crypto,’” then proceeded to assert that the portion of NVIDIA’s business related to

 7   cryptocurrency had been “small, overall” the prior quarter.

 8          68.     Huang doubled-down on those claims during a March 29, 2018 appearance on the CNBC

 9   show Mad Money. When host Jim Cramer asked Huang about analysts’ concerns that NVIDIA’s

10   “cryptocurrency risks are growing,” Huang responded by minimizing the effect of cryptocurrency-related

11   activities on NVIDIA’s performance, claiming that the “core growth drivers” for the Company’s revenue

12   results were other areas of the business—Gaming, Professional Visualization, Datacenter, and

13   Automotive—and that “cryptocurrency just gave it that extra bit of juice.” When Cramer asked Huang to

14   confirm that “if people think [cryptocurrency] is that important, they’re gonna miss the bigger picture,”

15   Huang responded, “Absolutely.”       He again minimized NVIDIA’s cryptocurrency-related revenue,

16   contrasting it with the Company’s “core” businesses.

17          69.     These representations had the desired effect on investors and analysts, with several analysts

18   crediting Defendants’ claims that robust revenue growth was being driven by gamers, not crypto-miners,

19   and that NVIDIA’s cryptocurrency exposure was small overall. For example, in a report issued August 11,

20   2017, JPMorgan reported that crypto-mining-related sales were “not a significant portion of NVIDIA’s

21   business” and that NVIDIA “remain[ed] focused on continued growth drivers in AI, autonomous driving

22   and gaming.” Similarly, in a report published on November 10, 2017, BMO Capital Markets reported that

23   “the [C]ompany . . . continues to believe there is only a small amount of GeForce cards that is used for

24   cryptocurrency mining.”

25          70.     Further, when identifying the “primary drivers” of its Gaming segment growth, Defendants

26   consistently identified sales to gamers—not sales to crypto-miners. For example, at NVIDIA’s May 10,
27   2017 Investor Day conference, the Individual Defendants took turns touting the Gaming segment’s strong

28   fundamentals, with Defendant Fisher identifying “PC gaming, eSports, competitive gaming, AAA gaming,

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 1   [and] notebook gaming” as the key drivers of Gaming’s growing revenues, saying nothing about demand

 2   from crypto-miners. Defendants made similar statements throughout the Class Period, reiterating the

 3   supposedly strong demand for GeForce Gaming GPUs from gamers while failing to disclose that much of

 4   the demand for these GPUs came from crypto-miners.

 5          71.     Here, too, analysts bought Defendants’ story.        For example, in reports issued on

 6   November 10, 2017, JPMorgan lauded NVIDIA’s “strong gaming fundamentals,” Susquehanna expressed

 7   its “surprise[] [at] the strength in Gaming,” and BMO Capital Markets reported that “the company noted

 8   broadbased strength in the gaming community[.]” Similarly, in a report issued February 9, 2018, SunTrust

 9   Robinson Humphrey raved about NVIDIA’s gaming results, following Defendants’ lead in making no

10   mention of cryptocurrency whatsoever:

11          NVDA’s CQ4 results & CQ1 guidance beat (destroyed) consensus. Gaming continues to
12          exceed expectations . . . . Gaming rev was ~13% above consensus . . . with secular growth
            from eSports, new AAA gaming titles boosting demand for Pascal processors, and
13          continued success of the Nintendo [] Switch platform.

14          72.     Defendants also misled analysts and investors into believing that nearly all the

15   cryptocurrency-related GPU revenues that NVIDIA earned were reported not in the Company’s all-
16   important Gaming segment, but rather in its far less significant OEM segment. NVIDIA had begun selling

17   the Crypto SKU, a GPU designed specifically for cryptocurrency mining, in the summer of 2017. Crypto

18   SKU sales appeared only in the OEM segment, not the core Gaming segment. This conspicuous

19   segregation of the Crypto SKUs from Gaming was by design: it allowed Defendants to publicly claim that

20   its mining-related sales were cordoned off in OEM, ostensibly isolating NVIDIA’s cash-cow Gaming

21   business from cryptocurrency-related volatility while capitalizing on frenzied demand for the hardware

22   needed for mining. Defendants repeatedly and falsely assured investors and analysts that NVIDIA met

23   virtually all of crypto-miners’ demand for its GPUs through sales of the Crypto SKU, ignoring or obscuring

24   the fact that most of the Company’s crypto-related sales—almost two-thirds—came from its flagship
25   GeForce Gaming GPU line.

26          73.     For example, on August 10, 2017, when NVIDIA reported “record revenue” for the second

27   quarter of fiscal 2018 of $2.23 billion driven largely by $1.19 billion in revenues from the Company’s

28   Gaming segment, Defendant Huang reassured investors that cryptocurrency mining was not driving the

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 1   quarter’s Gaming revenues. He claimed that “we serve the vast . . . majority of the cryptocurrency demand
 2   out of that specialized product [the Crypto SKU]” in the OEM segment, which had recorded just
 3   $150 million in cryptocurrency-related sales. Two days later, in a published interview, Huang stated that

 4   all of NVIDIA’s sales to crypto-miners “represented only a couple hundred million dollars, maybe
 5   $150 million or so.” This comment that the “$150 million or so” that NVIDIA earned in Crypto SKU sales

 6   comprised all of the Company’s crypto-related sales misleadingly indicated to investors that NVIDIA sold
 7   virtually zero GeForce GPUs to crypto-miners. Huang gave a similarly misleading statement the next
 8   quarter when, in a November 9, 2017 interview with VentureBeat, he stated that NVIDIA’s crypto-related

 9   sales were “[m]aybe $70 million”—precisely the same figure that NVIDIA had disclosed that day as its

10   third-quarter Crypto SKU sales, again misleadingly assuring investors that the Company’s sales to crypto-

11   miners were contained almost exclusively in its ancillary OEM segment.

12          74.    Similarly, at a Credit Suisse Technology, Media and Telecom Conference on November 29,

13   2017, Kress acknowledged that while “there probably is some residual amount or some small amount in
14   terms of” cryptocurrency-related sales in the Gaming GPU segment, she stressed that “the majority [of
15   cryptocurrency-related sales] does reside in terms of our overall crypto card [i.e., the Crypto SKU].”
16          75.    Analysts again credited these statements, taking at face value Defendants’ claims that

17   crypto-related sales were captured in the OEM segment, separated from Gaming. For example, an

18   August 10, 2017 report from Oppenheimer noted that “[c]rypto mining was ~$150M in 2Q”—a figure that

19   matched NVIDIA’s reported Crypto SKU sales in the OEM segment that quarter—and mentioned no

20   additional crypto-related revenues in Gaming. Likewise, in a report issued May 11, 2018, SunTrust

21   Robinson Humphrey explained that “crypto revenue showing up in the crypto SKU significantly mitigates

22   what we see as the biggest near-term risk in NVDA, which is that older gaming GPUs sold to crypto-

23   miners could flood the secondary market and sink gaming revenue.”

24
            D.     Unknown to Investors at the Time, Defendants Knew That Cryptocurrency Miners
25                 Were Driving NVIDIA’s Gaming Revenues Throughout the Class Period

26          76.    Contrary to Defendants’ repeated assurances to investors and analysts, NVIDIA’s crypto-

27   related revenues were not limited to the specialized Crypto SKU, and revenues for the Company’s Gaming

28   segment were not driven primarily by “gamers.” Rather, the Gaming segment’s remarkable sales growth

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 1   during the Class Period was driven largely by sales to cryptocurrency miners, and NVIDIA’s total sales to

 2   miners were anything but “small.” Numerous sources, including NVIDIA’s former executives, securities

 3   analysts, and Lead Plaintiffs’ experts, have confirmed that miners fueled NVIDIA’s reported surge in

 4   Gaming revenues.

 5           77.    Moreover, former senior employees from various regions and functions have confirmed that

 6   NVIDIA’s top leadership—including Defendants Huang, Fisher, and Kress—fully understood that crypto-

 7   miners were behind the booming GeForce GPU sales numbers even before the Class Period began. Indeed,

 8   FE 3, a Senior Director for Consumer Marketing from 2014 through the Class Period, stated that everyone

 9   at NVIDIA was engaged, to some degree, in talks about cryptocurrency mining’s impact on the Company’s

10   sales. According to accounts of these former employees, Defendants discussed, studied, tracked, and

11   actively sought to bolster sales of NVIDIA’s flagship GeForce line to miners—all while assuring investors

12   that its Gaming business was protected from the volatility inherent in cryptocurrency-related demand.

13
                    1.     Huang Maintained Access to NVIDIA’s Centralized Sales Database, Which
14                         Reflected Surging Demand for GeForce GPUs from Crypto-Miners

15           78.    Throughout the Class Period, Huang maintained access to a centralized internal sales

16   database that consolidated GeForce sales data from around the world and identified GeForce sales to

17   crypto-miners. Former employees from multiple regions have confirmed that this granular data identified

18   crypto-specific GeForce sales and was provided to NVIDIA by the Company’s partners, which were given

19   financial incentives for such reports. The sales data made clear that miners, not gamers, were driving the

20   rapid increase in GeForce revenues during the Class Period.

21           79.    FE 1 described how the process of gathering detailed sales data from NVIDIA’s partners

22   worked. FE 1 worked in the Company’s critical China market (encompassing mainland China, Taiwan,

23   and Hong Kong). The China market was NVIDIA’s largest by far, accounting for more revenues than the

24   Company’s four other regions combined.5 As one of approximately only four account managers in

25   NVIDIA’s China market at the time, FE 1 had close relationships with several of the Company’s largest

26

27   5
       A 2015 study by Goldman Sachs concluded that NVIDIA derived 54% of its revenue from the China
28   market (including Taiwan and Hong Kong). According to FE 1, the region was also crucial for the Gaming
     segment, providing 40% to 50% of NVIDIA’s worldwide GeForce sales in 2017.

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 1   partners, including Colorful (China’s largest graphics-card brand), ZOTAC (a major Macau-based

 2   hardware manufacturer), and Inno3d (a popular Hong Kong-based card maker). Beginning in late 2016,

 3   FE 1 began receiving regular reports from these companies that demand for GeForce from miners was

 4   “exploding.”

 5          80.     FE 1 explained that NVIDIA kept meticulous track of who was buying its GPUs—not

 6   simply directly from the Company, but also from its partners and others down the distribution chain as

 7   well. FE 1 described how NVIDIA required FE 1’s customers—the device manufacturers that NVIDIA

 8   called “partners”—to submit order sheets to NVIDIA identifying who was buying the partners’ completed

 9   products. These order sheets specifically described the purchaser, product, and quantity of the device

10   containing NVIDIA’s GPU being sold by the partner submitting the order sheet. By at least late 2016,

11   these order sheets expressly identified purchases by crypto-miners, who had started to purchase GeForce
12   GPUs by the thousands at a time.

13          81.     FE 1 explained that the account managers took the order sheets from partners and posted

14   the transaction data, including information about the partners’ purchasers, to one of NVIDIA’s regional

15   operations centers. The regional operations center for the Asia-Pacific region was located in Hong Kong.

16   The operations center then forwarded the data to the global operations center at NVIDIA’s corporate

17   headquarters in Santa Clara, California. This process of consolidating sales data and forwarding it to

18   NVIDIA’s headquarters occurred in every region in which NVIDIA operated. FE 1 gave the example of

19   sales people in North America sending their sales data to a regional operations center in North America.

20   Once the sales data was received from the regional operations centers, employees at NVIDIA’s

21   headquarters consolidated data from the various regions into a global sales spreadsheet in Excel, complete

22   with full worldwide data, for distribution to high-level executives at headquarters.

23          82.     FE 5 confirmed that this process of obtaining granular sales data from the distribution

24   channel occurred in other regions. FE 5, who worked in the Company’s European division, explained that

25   NVIDIA obtained sales reports both from partners and from distributors and retailers further down the

26   distribution chain—so-called “sell-in/sell-out” data. This “sell-in/sell-out” data recorded sales throughout

27   the distribution chain and allowed NVIDIA to determine the percentage of GeForce GPUs sold to crypto-

28   miners. FE 5 explained that NVIDIA’s partner companies were given a financial incentive to report this

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 1   detailed sales information to NVIDIA, specifically, money for marketing campaigns, called “Marketing

 2   Development Funds.” FE 5 said that NVIDIA’s Head of Sales for each country gathered this sales data

 3   and inputted it into NVIDIA’s system, which the regional director (for FE 5, the Director of Europe) then

 4   accessed and sent to the Company’s headquarters in California.

 5          83.     FE 1 explained that managers from all regions collected this sales data and inputted it into

 6   NVIDIA’s centralized global sales database, called the “channel support system.” The sales database

 7   aggregated the order-sheet data and allowed NVIDIA executives to track sales trends across an entire

 8   region or down to a particular customer and product. FE 1 stated that the centralized sales database, like

 9   the order sheets from which its data was drawn, expressly identified crypto-miners as purchasers of large

10   blocks of GeForce GPU products.

11          84.     FE 1 explained that the GeForce executive team in the United States, including Defendant

12   Fisher, VP Worldwide GeForce Sales John Milner, and U.S.-based Senior Director for China David Zhang,

13   had ready access to the centralized sales database. FE 1 stated that, in addition to the GeForce executive

14   team, Huang and Kress were both authorized to access the sales database and in fact had actual access to

15   this data. Additionally, FE 1 stated that Huang and Kress could direct VPs (such as Fisher and Milner) to

16   forward the data to them.

17          85.     FE 2, a Senior Products Director based in NVIDIA’s Santa Clara headquarters who

18   personally met with Huang on a monthly basis, confirmed that Huang personally reviewed NVIDIA’s sales

19   data through the centralized sales database. As an example, FE 2 described a Company-produced video

20   shown at a Quarterly Business Review or all-hands meeting that FE 2 attended in 2017. FE 2 stated that

21   the video showed Shanker Trivedi (SVP of Enterprise Business, based at NVIDIA’s Santa Clara

22   headquarters) inputting sales information into the centralized sales database described above. The video

23   then switched frames, showing Huang looking at the sales data in the database and, after noting what

24   appeared to be a spike in sales based on Trivedi’s reporting, sending Trevedi an email congratulating him

25   on the increased sales. FE 2 stated that the message of the video was that Huang personally reviewed the

26   sales data. That message was consistent with FE 2’s recollection that Huang was “the most intimately

27   involved CEO he had ever experienced” and always knew everything that was occurring in the Company,

28

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 1   a sentiment that FE 2 stated was widely shared. “Everybody talked about it among the different business

 2   groups,” FE 2 recalled.

 3          86.     FE 1 described the U.S. executive team as “obsessed” with this sales data, which explicitly

 4   identified and quantified crypto-miners’ burgeoning demand for GeForce GPUs throughout the Class

 5   Period. FE 1 reported that, throughout 2017, this data reflected that 60% to 70% of NVIDIA’s GeForce
 6   revenue in its most critical market, China, came from sales to crypto-miners. Given the significance of the

 7   China market to NVIDIA’s Gaming revenues and overall performance, these figures revealed that

 8   approximately 25% to 35% of NVIDIA’s worldwide GeForce Gaming-segment revenues were coming
 9   from sales to crypto-miners just in China. See supra note 5 (noting China market provided 40% to 50%
10   of worldwide GeForce sales). Yet as various other data sources streaming into the Company’s California

11   headquarters made clear, the crypto phenomenon was not limited to a single region or market; rather,

12   miners were buying up GeForce GPUs in bulk all over the globe, comprising a far larger percentage of

13   NVIDIA’s worldwide Gaming revenues.

14                  2.     Huang Reviewed Crypto-Related GeForce Sales Data at Quarterly Meetings
15          87.     Huang also attended meetings at which sales data detailing GeForce sales to crypto-miners

16   was presented to him during the Class Period. FE 1 recounted that, every quarter, a group of NVIDIA

17   Vice Presidents and other managers met with Huang at “higher hierarchies” meetings to review the

18   Company’s performance. FE 1 stated that emails were circulated within his department in advance of these

19   quarterly meetings. FE 1 also discussed these meetings with his manager (Senior Sales Director Howard

20   Jiang) and other colleagues. The GeForce business unit’s U.S.-based leadership—including Zhang,

21   Milner, and Fisher—were among those who attended these meetings with Huang.

22          88.     FE 1 stated that NVIDIA Vice Presidents presented sales data reflecting GeForce sales to

23   miners at the quarterly meetings with Huang in 2017. FE 1 learned this fact directly from Zhang or Jiang.

24   FE 1 explained that the Vice Presidents presented this information to Huang at the meetings to generate

25   confidence that their sales targets would be met. FE 1 further stated that business opportunities involving

26   sales to crypto-miners were a topic of conversation at these meetings with Huang. For example, in 2017,

27   Huang and the other attending executives discussed a large sales deal with Genesis, a European company

28   well known in the cryptocurrency mining arena.

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 1          89.     FE 5 also stated that FE 5 attended regional Quarterly Business Review meetings for

 2   multiple regions, including Europe. The regional Quarterly Business Reviews were held online and

 3   involved managers from sales and marketing departments. During these meetings, the managers presented

 4   analyses breaking down the sales data geographically for the regional heads, and the regional heads would

 5   report that information directly to Huang. FE 5 explained that the “sell-in/sell-out” data that reflected the

 6   percentage of GeForce sales going to crypto-miners was included in the quarterly reviews. FE 5 explained

 7   that these quarterly meetings were designed to provide Huang insight into how each region was doing and

 8   provide him with a complete view of the Company’s sales performance on a monthly basis.

 9          90.     FE 5 stated that crypto-mining and its effect on GeForce demand was a “hot topic” at these

10   meetings for different regions during the second half of 2017 and first half of 2018. FE 5 gave the Director

11   of Sales for Europe as an example of one executive who discussed crypto-related demand for GeForce

12   GPUs at these gatherings. Attendees also discussed forecasting predictions, including forecasts of GPU

13   demand from cryptocurrency miners. FE 5 recalled that, beginning in the summer of 2018, the Quarterly

14   Business Review meetings involved discussion of the decline in mining-related demand, which was

15   negatively affecting GeForce sales. FE 5 explained that the sales data and forecasts presented at the

16   regional meetings, including cryptocurrency-related demand, was then sent directly to Huang.
17          91.     FE 5 also stated that Huang traveled to India on multiple occasions, where he reviewed sales

18   data from the region. For example, FE 5 recalled personally presenting sales data to Huang at a meeting

19   in 2017, attended by approximately ten others. The meeting, held in Mumbai, focused on NVIDIA’s sales

20   performance and marketing strategies and the performance of NVIDIA’s channel partners. FE 5 stated

21   that GeForce sales data was included in the first slide of the presentation. FE 5 described Huang as “very

22   hands-on,” with a prodigious memory.

23          92.     FE 2, who attended some of these quarterly meetings at the Company’s Santa Clara

24   headquarters, confirmed that Huang reviewed GeForce sales data at quarterly reviews at that location as

25   well. Indeed, FE 2 stated that Huang reviewed everybody’s sales data in detail at these meetings, which

26   FE 2 described as “proctology exams.” FE 2 further stated that Huang closely reviewed the GeForce data

27   at these events because GeForce revenues were larger than that of any other group. As FE 2 recalled,

28

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 1   “Jensen is a micromanager. He micromanages everything—very little gets done without him being

 2   involved.”

 3          93.     Huang also explicitly discussed the effect of cryptocurrency-related demand on GeForce

 4   sales. FE 2 stated that Huang brought up miners’ preference for GeForce GPUs during at least two different

 5   Quarterly Business Reviews at NVIDIA’s Santa Clara headquarters in 2017, which FE 2 attended with

 6   Huang and other business unit, sales, marketing, and product management leaders. Specifically, Huang

 7   acknowledged that NVIDIA could not get the cryptocurrency miners to buy the professional and more

 8   expensive Quadro and Tesla cards because miners did not care about “what the pro card stands for” and

 9   were only interested in raw cost and “cranking out algorithms at the lowest cost.” FE 2 also recalled that

10   when Huang stated that miners were buying GeForce GPUs instead of the professional cards, the

11   information came as no surprise to FE 2 or any of the other NVIDIA executives in the room.

12
                    3.     Huang Received Weekly “Top 5” Emails Highlighting the Impact of Crypto-
13                         Related Demand on GeForce Sales Around the World

14          94.     Throughout the Class Period, Huang also received continuous reports of crypto-related

15   GeForce sales in an internal reporting system that he had created called “Top 5” emails. FE 5 explained

16   that the Top 5 emails were a system that Huang had implemented by which senior sales and marketing

17   personnel from all of NVIDIA’s regions sent reports of recent achievements, perceived challenges, market

18   conditions, and ongoing trends to everyone on the distribution list, including Huang, on a weekly basis.

19   The system was designed to give executives all over the world—most of all, Huang—an understanding of

20   what was occurring in each of the Company’s various markets. For example, if the Head of Sales in Europe

21   wrote about sales in the European market, that information would go to NVIDIA’s executives and

22   managers globally, including Huang. FE 5, as Head of Consumer Marketing for South Asia, was on the

23   distribution list and thus privy to the contents of the weekly Top 5 emails at all relevant times. FE 5

24   therefore saw the information that went to Huang each week by way of this reporting system.

25          95.     FE 5 further explained that the convention was for senior sales and marketing personnel to

26   send the “Top 5” emails to Huang and the other executives on the distribution list on Fridays. It was

27   understood that Huang set aside time on Sundays to review the Top 5 emails each week, at which time he

28   would review them and often reply directly to the senders, posing follow-up questions. Then, first thing

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 1   Monday morning of each week, the individuals who received follow-up questions from Huang would

 2   answer them. FE 5 stated that Huang read the Top 5 emails because he was “very hands-on,” and the Top 5

 3   system was his idea; Huang wanted to know what was happening across all regions of the Company, and

 4   this was the way by which he did so.

 5          96.     FE 2 was also on the Top 5 distribution list. FE 2 confirmed that Huang had initiated the

 6   Top 5 reporting system in 2014 or 2015, that it required senior managers to send their reports by email

 7   every Friday, and that Huang personally reviewed the Top 5 emails sent by these senior managers. FE 2

 8   further stated that Huang made a point of telling employees that he had “super user” status on NVIDIA’s

 9   IT system and would use it to review all the Top 5 emails.

10          97.     FE 5 stated that the effect of cryptocurrency mining on demand for GeForce GPUs was

11   discussed regularly in the Top 5 reporting system during the Class Period and that this discussion came

12   from managers in “many” regions. Indeed, FE 5 recalled that virtually every salesperson on the distribution

13   chain talked about crypto-related GeForce sales in these weekly emails to Huang and other executives and

14   that almost all communications from the sales force pertained to crypto-mining during the cryptocurrency

15   bubble of 2017 and 2018. FE 5 explained that emails from the sales force contained both sales data

16   reflecting the growth in GeForce demand and accounts of conversations with resellers, partners, and

17   distributors who reported demand from cryptocurrency miners to assess the demand created by crypto-

18   mining. FE 5 stated that the sales force knew that crypto-miners were buying GeForce GPUs in “bunches”

19   (i.e., bulk orders of hundreds or thousands of GPUs) and these bulk orders took off during the Class Period.

20   Specifically, FE 5 stated that known crypto-miners began reaching out to salespeople at NVIDIA directly

21   to place bulk GPU orders. FE 5 reiterated that the Top 5 emails to Huang and other top executives explicitly

22   discussed crypto-related sales, bulk ordering, and assessments of crypto-related demand.

23          98.     The weekly Top 5 emails to Huang and the rest of the leadership team also frequently

24   discussed another aspect of the crypto-mining trend: shortages in GeForce GPUs inventory caused by the

25   mounting crypto-related demand. FE 5 gave the Director of Sales for Europe as an example of one manager

26   who discussed crypto-related demand in the Top 5 emails and the shortages that it created in the

27   marketplace among gamers, along with bulk orders from crypto-miners. FE 5 emphasized, however, that

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 1   shortages in GeForce GPU inventory was not limited to Europe and that managers from multiple regions

 2   regularly reported on this crypto-mining phenomenon in their weekly reports to Huang.

 3
                   4.      Huang and Kress Received GeForce Experience Data Confirming That the
 4                         Majority of GeForce Sales Were to Crypto-Miners

 5          99.    In addition to regularly receiving sales data and reports reflecting rapidly rising GeForce

 6   sales to miners, Defendants knew, or were deliberately reckless in not knowing, that crypto-miners were

 7   buying the Company’s GeForce GPUs for mining in substantial quantities because of their access to

 8   technical usage data collected through NVIDIA’s GeForce Experience software.

 9          100.   GeForce Experience software is bundled with the graphics drivers for GeForce GTX

10   Gaming graphics cards. In addition to automatically checking for and installing updated driver software,

11   GeForce Experience software purports to optimize graphics settings to improve graphics performance

12   while gaming. It also allows users to stream and share what they do on their computers with others,

13   including NVIDIA itself. Defendant Fisher has called GeForce Experience “the heart of our gaming

14   platform.”

15          101.   This software was widely used. NVIDIA has publicly claimed that “mid-to-high 90%” of

16   its users use the GeForce Experience software. In November 2016, NVIDIA reported 80 million users of

17   GeForce Experience. In July 2017, the Company announced that the GeForce Experience software was

18   available in its all-important China market. Fisher reported at the Company’s annual Investor Days that

19   user figures had grown to 90 million by May 2017 and 100 million by March 2018.

20          102.   By NVIDIA’s own account and those of former employees, the data gathered from users of

21   GeForce Experience tracked how GeForce GPUs were being used. The “GeForce Experience FAQ” on

22   NVIDIA’s website from the summer of 2017 stated:

23
            The application collects data needed to recommend the correct driver update and optimal
24          settings, including hardware configuration, operating system, language, installed games,
            game settings, game usage, game performance, and current driver version. If a user is
25          signed into an NVIDIA account, the data is identifiable. All data collected is protected by
            NVIDIA’s privacy policy.
26

27          103.   FE 1 confirmed that NVIDIA was aware of exploding cryptocurrency-related demand for

28   GeForce GPUs through the GeForce Experience data. FE 1 explained that the software enabled the

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 1   Company to monitor usage of GeForce GPUs and informed it whether those GPUs were being used for

 2   gaming or mining.

 3          104.    FE 1 emphasized that NVIDIA’s top managers regularly analyzed the GeForce Experience

 4   data and that they understood the market change—specifically, the increased demand—brought on by

 5   cryptocurrency mining. “We actually know this data,” FE 1 said. Indeed, FE 1 recalled David Zhang, the
 6   U.S.-based Senior Director for China, explicitly discussing how GeForce Experience data allowed

 7   NVIDIA to track mining usage. Of Defendants’ later claims that they could not determine whether

 8   GeForce GPUs were being used for mining, FE 1 scoffed, “NVIDIA sure lied to everyone.”
 9          105.    FE 5 confirmed that the GeForce Experience software informed NVIDIA about how

10   GeForce GPUs were being used, including when they were being used for mining. FE 5 explained that

11   GeForce Experience captures information regarding the use of the PC on which it is installed, including

12   what games were played on it, how the computer performed, and other data. NVIDIA used this data for

13   marketing purposes and to determine what games were being played in different regions around the world.

14   FE 5 stated that NVIDIA knew the percentage of GeForce GPU sales going to miners by examining the

15   GeForce Experience data.

16          106.    FE 5 stated that NVIDIA maintained the GeForce Experience usage data in a central

17   database. FE 5 explained that regional managers compiled monthly reports of the GeForce Experience

18   data, which were then sent directly to Huang. FE 5 had access to these reports. FE 5 stated that the usage

19   data contained in these reports showed that over 60% of GeForce GPU sales during the Class Period were
20   to miners. FE 5 also stated that his superiors informed FE 5 at the regional Quarterly Business Review

21   meetings attended by FE 5 that Huang personally reviewed the GeForce Experience data for each region.

22          107.    Kress also repeatedly and publicly acknowledged that NVIDIA monitored end-users’

23   utilization of their GeForce GPUs through the GeForce Experience software. For example, during the

24   Company’s presentation at the Credit Suisse 20th Annual Technology Media Teleconference on

25   November 30, 2016, Kress stated:

26          [W]e have designed a set of key drivers and software for every gaming card that goes out
            there. We can see you light up. GeForce Experience . . . that allows you the latest driver
27
            for the next game that comes out. We want you online and gaming in seconds. But we
28          can see the games that you’re playing.


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 1          108.    Similarly, during NVIDIA’s presentation at the Morgan Stanley Media Telecom

 2   Conference on March 1, 2017, Kress stated, “[W]e can actually see [users] through our GeForce
 3   Experience, sign on, download the drivers for games. So we have an ability to actually look to say, ‘Yes,
 4   the intended use of those overall gaming platforms are actually being used for gaming.’” As discussed
 5   above, this GeForce Experience data reflected that the dramatic spike in NVIDIA’s GeForce GPU sales

 6   during the Class Period was attributable to sales to miners, not gamers.
 7                  5.     Fisher and Other Top U.S. Executives Received Detailed Accounts of GeForce
                           Sales to Miners Throughout the Class Period
 8
                           a.      Weekly Sales Reports and Sales Forecasts Quantifying GeForce Sales
 9                                 to Miners
10          109.    The GeForce sales force also regularly reported miners’ swelling demand for GeForce

11   products to the GeForce leadership team at NVIDIA’s U.S. headquarters. FE 1 reported that near the end

12   of 2016 or early 2017, FE 1’s supervisor, Senior Sales Director Howard Jiang, told FE 1 that “it would be

13   good to support GeForce” sales by specifically targeting and selling the GeForce GPUs to miners.

14   Consequently, Jiang directed FE 1 and the other account managers in China to specifically track GeForce

15   sales to miners, which the account managers began doing.

16          110.    FE 1 further explained that the China account managers were required to send weekly

17   GeForce sales reports by email to NVIDIA executives in the United States, a practice that began before

18   the crypto-bubble started to expand in late 2016 and continued throughout FE 1’s time with NVIDIA.

19   NVIDIA’s China team sent these weekly reports to, among others, Defendant Fisher, VP Worldwide

20   GeForce Sales Milner, Taiwan-based Asia-Pacific Market Director Andy Hsu, China-based Product

21   Marketing Manager Li Pu, and U.S.-based Senior Director for China David Zhang. The reports provided

22   weekly updates on the preceding week’s GeForce sales numbers, sales drivers, customers, inventory

23   issuers, competitors, and other issues relevant to the China market. FE 1 personally drafted these emails.

24          111.    After FE 1 discussed the growing demand for GeForce GPUs from crypto-miners in one of

25   these emails in late 2016, FE 1’s boss, Jiang, instructed FE 1 to write a report on crypto-mining in China.

26   Then, at the end of 2016, FE 1 was asked to put together a presentation on the crypto-mining market for

27   GPUs in China. The presentation contained an introduction to crypto-mining, how it worked, the hardware

28   needed to do it, and an overview of the market. FE 1 sent this presentation to Jiang and Zhang.

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 1          112.   After FE 1 submitted the report and presentation, the weekly sales emails that FE 1 and

 2   other managers drafted were modified to contain a separate section presenting crypto-related GeForce GPU

 3   sales based on data gathered from NVIDIA’s customers in China. Defendant Fisher (Huang’s direct report)

 4   and key members of his Gaming segment executive team thus received weekly updates on the number of

 5   GeForce GPUs being sold to crypto-miners in its most critical market, China, throughout 2017. FE 1 also

 6   commented regularly on the trend in these weekly updates, highlighting the significance of cryptocurrency

 7   mining to GeForce demand alongside the quantitative crypto-related GeForce sales data. Throughout

 8   2017, Fisher, Milner, Zhang, and others received these weekly reports quantifying the impact of crypto-

 9   mining demand on GeForce sales in China, which alone comprised approximately 25% to 35% of

10   NVIDIA’s worldwide GeForce revenues.

11          113.   FE 1 explained that the China sales team also sent quarterly spreadsheets to the U.S.-based

12   GeForce executive team, including Fisher, Milner, and Zhang. These spreadsheets presented data about

13   the preceding quarter’s transaction data, market share, and GeForce GPU sales to crypto-miners in China.

14          114.   In addition to assiduously tracking sales to miners in its centralized sales database and

15   providing the weekly sales reports to the U.S.-based leadership, NVIDIA’s sales force included

16   cryptocurrency-related sales of GeForce GPUs in its sales projections for important markets. During the

17   second half of 2017, FE 1 and his team worked on formulating 2018 GeForce sales projections for the

18   China market. FE 1 stated that the continuing increase in crypto-mining demand for GeForce GPUs was

19   the primary reason why NVIDIA was internally forecasting 2018 GeForce sales to rise 60% over 2017
20   levels. FE 1 and his sales team specifically discussed the increased demand from crypto-mining as driving

21   the increased 2018 GeForce sales projections in forecasting calls, emails, and weekly reports involving

22   Fisher, Milner, and Zhang. Furthermore, FE 1 reported that, in conjunction with these forecasts, NVIDIA

23   planned to increase inventory to support the anticipated increase in GeForce sales driven by mining.

24                         b.     March 2017 Presentation to Fisher and Other Top Gaming Executives
25          115.   FE 1 also warned key members of NVIDIA’s executive team of the rapid rise in demand

26   for GeForce GPUs by crypto-miners during an in-person meeting shortly before the Class Period began.

27   In March 2017, two months before the start of the Class Period, Defendant Fisher, Milner, and Zhang

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 1   visited China to meet with the Company’s sales team there.6 During the March 2017 visit, FE 1 gave a

 2   presentation to Fisher, Milner, Zhang, and Jiang in which FE 1 emphasized the explosion of crypto-related

 3   sales of GeForce GPUs in China. FE 1 specifically reported that sales to miners had caused GeForce
 4   sales to almost double in a short period. FE 1 told Fisher and the other NVIDIA executives in attendance
 5   that FE 1’s customers (NVIDIA’s partners) were reporting that sales to crypto-miners were driving

 6   GeForce revenues in China and stated that the mining market was very important. FE 1 also cautioned the

 7   group that NVIDIA had to “take care,” given the growing reliance on crypto-miners, which Defendant

 8   Fisher called “dangerous” during the meeting.
 9           116.   Three months later, in June 2017, FE 1 met with Milner and other NVIDIA executives at a

10   computing expo and again discussed the issue of cryptocurrency-related GeForce sales. FE 1 reiterated

11   the impact of crypto-mining on GeForce revenues and recounted conversations that FE 1 had recently had

12   with a customer in Taiwan about the rise in mining. This discussion only underscored for Milner and the

13   other NVIDIA executives what the weekly reports and quarterly spreadsheets documenting massive sales

14   of GeForce GPUs to crypto-miners had been telling them for months.

15           117.   After FE 1’s presentation to Fisher, Milner, Zhang, and Jiang in March 2017 (¶ 115) and

16   FE 1’s commentary about cryptocurrency mining’s impact on GeForce revenues in the weekly sales reports

17   sent to Fisher, Milner, and Zhang (¶¶ 109–12), Milner contacted FE 1 directly to discuss the China market.

18           118.   During the second half of 2017, FE 1 emailed directly with Milner one to two times a month.

19   FE 1 stated that the emails with Milner focused on the impact of mining on GeForce sales. FE 1 stated

20   that Milner, who was well-versed in the subject due to the weekly email reports and FE 1’s March 2017

21   presentation, often asked technical questions about how graphics cards employing GeForce GPUs were

22   used to mine cryptocurrency. FE 1 also recalled the pair discussing the shortage of GeForce GPUs in

23   China that resulted from the crypto-related demand, which FE 1 raised repeatedly throughout 2017.

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28     FE 1 stated that this was the fifth or sixth time that FE 1 had met Defendant Fisher, the first being
     approximately ten years before.

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 1                          c.      September 2017 Study of Crypto-Related GeForce Sales in China,
                                    Commissioned by Fisher
 2

 3          119.    FE 1 further described how, in August 2017, U.S.-based Senior Director for China David
 4   Zhang instructed the China team to complete an internal study on crypto-mining’s effect on GeForce sales

 5   in China, which had been requested by Defendant Fisher. See infra Fig. D. Over the next few weeks,

 6   senior members of the China sales team completed five drafts of a PowerPoint presentation, entitled

 7   “Cryptocurrency/Mining Update, China.” FE 1 circulated these drafts to Zhang and Jiang, who provided

 8   feedback and edits through the revision process. In September, FE 1 sent the presentation to Zhang, Jiang,

 9   Asia-Pacific Market Director Andy Hsu, Product Marketing Manager Li Pu, and other senior managers.

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20             Figure D. Sept. 2017 NVIDIA China Cryptocurrency Study
               Source: NVIDIA Corp.
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22          120.    The presentation to the Company’s executives contained a trove of internal data and other

23   information reflecting NVIDIA’s tracking of crypto-related GeForce sales in China and the Company’s

24   intention to target crypto-miners as a substantial source of additional GeForce (and therefore Gaming

25   segment) revenue. For example, the second slide of the presentation, entitled “China Mining Market Share

26   High in Global,” highlighted China’s prominent role in fueling the increasing interest in crypto-mining

27   worldwide. The slide explicitly addressed the “[m]ining impact to GeForce business,” reporting “1.5M

28   [GeForce] GTX sitting in mining.” See infra Fig. E. FE 1 confirmed that this slide reflected that, between

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 1   January and September 2017, NVIDIA had sold 1.5 million GeForce GTX units to cryptocurrency
 2   miners in China. Based on the conservative price point of $150 per unit (GTX GPUs sell for as high as
 3   $800 per unit, depending on the model), this sales number translated into a minimum of $225 million in
 4   GeForce revenues from the China market alone.

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           Figure E. Sept. 2017 NVIDIA China Cryptocurrency Study
17         Source: NVIDIA Corp.
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19          121.    Another slide in the cryptocurrency study, titled “China April-July Mining Sellout Data,”
20   detailed monthly internal sales data concerning GeForce sales to crypto-miners. See infra Fig. F. The
21   slide stated that NVIDIA had sold a remarkable 800,000 GeForce GTX GPUs to miners in China during
22   the period of May 2017 through July 2017 (corresponding with NVIDIA’s 2Q18 reporting period), and
23   provided detailed sales data on a monthly basis. Again using the conservative price point of $150 per unit,
24   this internal data translated into $120 million in undisclosed sales of GeForce GPUs to miners just in the
25   China market during 2Q18. The slide also revealed NVIDIA’s internal estimate that it was capturing more
26   than 70% of the crypto-related GPU market in China—a figure that, as described below, was nearly
27   identical to multiple third-party estimates of NVIDIA’s global market share of crypto-related GPU
28   sales. See infra Section V(F).

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12       Figure F. Sept. 2017 NVIDIA China Cryptocurrency Study
         Source: NVIDIA Corp.
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14          122.    An additional slide in the presentation explained that “China currently Mining GPU run-

15   rate of @200Ku/month”—meaning that NVIDIA estimated that it was selling 2.4 million units for

16   cryptocurrency mining annually in China alone, translating into $360 million in additional crypto-related

17   GPU sales annually just in China.

18          123.    The study warned of “[d]emand fluctuation” associated with these sales and described

19   adverse developments in the China crypto-mining market that posed a risk to GeForce sales in the country.

20   The presentation also reported that sales were not limited to Chinese miners, explaining that “China Mining

21   Systems are also shipped to overseas.”

22          124.    Another slide, titled “New Market, New Business Model,” detailed how NVIDIA would

23   exploit the crypto-mining market to boost GeForce sales. See infra Fig. G. It expressly noted that

24   “Cryptocurrency/Mining (Block-Chain Technology) biz [would] continue increasing” but again warned

25   that “[t]he cryptocurrency market [came] with high risk and severe fluctuation.” According to the same

26   slide, the plan was to “Build up Mining Eco System” by effectively connecting with, among others, “Top

27   Miners.” Another slide described the new market as “Dynamic, Risky, Concentrated,” but nevertheless

28   stated that selling to crypto-miners “becomes long-term business with connection to top miners.”

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               Figure G. Sept. 2017 NVIDIA China Cryptocurrency Study
12             Source: NVIDIA Corp.

13             125.    The presentation also contained a slide highlighting the importance of China to worldwide
14   Ethereum mining, noting that China Ethereum mining pools (large-scale operations in which capital is
15   pooled to finance crypto-mining) accounted for 40% of the world’s share.7 A separate slide outlined what
16   NVIDIA intended to adopt as a “solid plan” for tapping this rich new market, which FE 1 explained
17   involved the Company preparing for large mining customer orders in excess of 100,000 GPUs per
18   order. The next slide described how NVIDIA would “Direct[ly] Engage Top 10-20 miners,” using them
19   to develop mining-related sales forecasts and making miners NVIDIA’s “supply priority.” See infra
20   Fig. H.
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       China’s proportion of the global Ethereum mining market was roughly similar to China’s proportion of
28   the global GeForce market. See supra note 5 (FE 1 recounting that the China market typically supplied
     40% to 50% of NVIDIA’s GeForce sales).

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          Figure H. Sept. 2017 NVIDIA China Cryptocurrency Study
12        Source: NVIDIA Corp.
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14          126.    Reflecting NVIDIA’s eagerness to exploit the new cryptocurrency boom’s effect on

15   GeForce sales, a slide near the end of the presentation listed ten large commercial mining firms operating

16   in China by name, next to which was the mine owner’s name, cell phone number or email address, existing

17   mining GPUs, and “Monthly demand & forecast (Units),” which FE 1 confirmed was NVIDIA’s internal

18   estimate of the number of GPUs each firm would buy each month. See infra Fig. I. While most of the

19   firms on the list bore Chinese names, it also included Genesis Mining, the European-based mining firm

20   that Huang had discussed targeting for a large sale of GeForce GPUs at a meeting with other NVIDIA

21   executives in 2017. See supra ¶ 88.

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        Figure I. Sept. 2017 NVIDIA China Cryptocurrency Study
12      Source: NVIDIA Corp.

13                   6.      Reports of Global Shortages Resulting from Crypto-Miners’ Bulk Purchases
14                           of GeForce GPUs Circulated Widely Within NVIDIA

15          127.     In addition to the mountains of internal data documenting torrid cryptocurrency-related
16   GeForce sales building up at NVIDIA’s headquarters, reports of bulk purchases by miners across the globe
17   from NVIDIA sales personnel further confirmed the phenomenon. FE 1 recounted that, beginning in 2016
18   and continuing through 2017, mining enterprises placed huge orders for GeForce GPUs from NVIDIA’s
19   partners, often in quantities of 50,000 or 100,000 units per order. Such bulk purchases are not made by
20   gamers, who buy only single GeForce GPUs at a time for gaming. FE 1 explained that these bulk orders
21   were deployed to build mining rigs, which each contained eight GeForce cards. FE 1 reported that the bulk
22   purchases by miners were “common knowledge” at the Company’s China offices and that there was “no
23   question [that] NVIDIA was concerned” that if cryptocurrency-mining demand fell, it would have a
24   material impact on revenues.
25          128.     The same pattern was occurring in the United States. FE 2, the Senior Director one direct-
26   report removed from Huang, stated that GeForce Gaming GPUs were the clear favorite among crypto-
27   miners. FE 2 further stated that “[i]t was common knowledge in the [C]ompany” that crypto-miners were
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 1   buying GeForce GPUs over NVIDIA’s higher-end and more expensive Quadro and Tesla processors.

 2   Indeed, since GeForce was cheaper, miners purchased it “9 out of 10” times.

 3          129.    FE 2 explained that about two times per month, miner groups would come directly to

 4   NVIDIA’s headquarters looking to purchase cheap Gaming graphics cards in bulk amounts for crypto-

 5   mining. Each time that occurred, a GPU Product Manager was called in to upsell the miners a professional

 6   product like the Quadro or Tesla. When the miners learned of the cost of the higher-end processors, they

 7   would flatly refuse. FE 2 stated that NVIDIA then referred the miners to a third-party distributor. FE 2

 8   reported that he had conversations with Product Managers about these incidents, which provided the

 9   Company with ample evidence that its GeForce Gaming GPUs were being bought up by miners en masse.

10          130.    Miners’ repeated attempts to make bulk purchases of GeForce GPUs directly from the

11   Company in Santa Clara were reported up the executive chain through multiple NVIDIA business units.

12   FE 2 attended meetings with Defendant Fisher (head of the GeForce business unit), Bob Pette (VP and

13   General Manager of the Quadro business unit), and Ian Buck (VP and General Manager of the Tesla

14   business unit) in 2017 during which this trend was repeatedly discussed. Huang expressly acknowledged

15   this trend at multiple Quarterly Business Reviews held at the Company’s Santa Clara headquarters in 2017.

16          131.    FE 4 observed this same trend of widespread bulk purchases by miners in Russia. FE 4 was

17   responsible for social media promotion of NVIDIA gaming GPUs in Russia before and during the Class

18   Period. FE 4, who frequently discussed GPU demand and sales with retailers in his professional capacity,

19   learned through those direct conversations with the retailers that miners were purchasing NVIDIA Gaming

20   GPUs in bulk. FE 4 observed a huge percentage of Gaming GPUs being sold to cryptocurrency miners,

21   and not gamers, in late 2017. For example, one Moscow retailer sold 2,000 NVIDIA GPU units to a single

22   customer during this period, all for cryptocurrency mining. FE 4 estimated that, by the first half of 2018,

23   50% of all NVIDIA Gaming GPUs being sold in Russia were to miners. As a result, shortages grew so
24   great that retailers in Moscow began limiting the number of GPUs that customers could buy.

25          132.    FE 5 similarly reported that bulk purchases by miners in India produced acute shortages in

26   that country, which NVIDIA treated as part of its European market during the Class Period. FE 5, the

27   Head of Marketing for South Asia at the time, recalled that GeForce sales grew approximately 40% in

28   South Asia during the Class Period. FE 5 explained that mining farms began purchasing GeForce GPUs

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 1   directly from distributors in the “tens of hundreds” of units at a time, order sizes that were unheard of

 2   before the cryptocurrency boom of 2017 and 2018. This trend was most pronounced during the second

 3   half of 2017. FE 5 estimated that at the height of the crypto-bubble, approximately 90% of GeForce GPUs
 4   sold in India went to crypto-miners; during the Class Period overall, FE 5 estimated that more than 60%
 5   of GeForce GPUs sold in India were to miners. FE 5 stated that the surge in demand was “unprecedented”

 6   and that FE 5 had “never seen anything like it.” FE 5 recalled that the marketing team expended little

 7   effort or marketing funds to achieve the leap in sales due to the demand from miners, and that the dramatic

 8   increase, and then decrease, in GeForce sales, with little if any corresponding changes in marketing effort,

 9   made the relationship between GeForce sales and cryptocurrency mining even more obvious internally.

10          133.    FE 5 stated that the rapid increase in demand for GeForce GPUs from miners produced a

11   protracted shortage in which gamers were able to buy only a small fraction of those sold, paying a premium

12   of 20% to 30% for the GPUs they could purchase. As noted above, these shortages and the surge in sales

13   to crypto-miners that led to them were routinely discussed in “Top 5” emails sent directly to Huang at

14   Huang’s request during the Class Period.

15
                    7.     NVIDIA Revised Its GeForce End User Licensing Agreement to
16                         Accommodate Commercial Miners

17          134.    NVIDIA attempted to control how its GeForce GPU product line was used through its End

18   User Licensing Agreement (“EULA”). The EULA governed how end-users were permitted to use their

19   GeForce GPUs, violation of which would void the products’ warranties.

20          135.    On January 1, 2018, NVIDIA issued a revised GeForce EULA. The revision was directed

21   at corporate datacenters, which are large groups of networked computer servers that businesses use for

22   remote storage and data processing. The new EULA, however, contained an important carve-out. This

23   carve-out not only acknowledged, but encouraged, the continued use of GeForce GPUs (not the Crypto
24   SKU) for large-scale cryptocurrency mining in datacenters.

25          136.    The revised GeForce EULA expressly prohibited end-users from deploying GeForce GPUs

26   in datacenters. As NVIDIA’s Quadro Senior Director of Product Management Scott Fitzpatrick, its Head

27   of Sales, and other former colleagues later confirmed to FE 2, the revision was motivated by the Company’s

28   desire to prevent corporate datacenters (i.e., non-miners) from using lower-priced GeForce GPUs (which

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 1   cost several hundred dollars each), forcing them instead into NVIDIA’s costlier “professional” Quadro and

 2   Tesla GPUs (which cost several thousand dollars each).

 3              137.   Defendants knew, however, that crypto-miners were different: miners could not be pushed

 4   into the more expensive professional GPU products, as the economics of mining would not support it. As

 5   FE 2 recalled, NVIDIA salespersons regularly failed to upsell miners on the higher-end professional

 6   Quadro and Tesla GPUs. FE 2 stated that “9 out of 10 times” miners would purchase the cheaper GeForce

 7   Gaming GPU. ¶ 128. Huang had himself repeatedly acknowledged this fact, observing at multiple internal

 8   meetings that NVIDIA could not get the cryptocurrency miners to buy Quadro or Tesla GPUs because

 9   miners were only interested in raw cost and “cranking out algorithms at the lowest cost.” ¶ 93.

10              138.   Defendants also knew that they could not afford to lose out on the massive revenues that

11   NVIDIA was earning from the crypto-boom. Thus, recognizing that commercial miners would not buy

12   the more expensive Quadro and Tesla GPUs, Defendants inserted an important carve-out in the new EULA,

13   which continued to allow GeForce GPU users to conduct cryptocurrency mining in datacenters. The

14   provision read: “No Datacenter Deployment. The software is not licensed for datacenter deployment,

15   except that blockchain processing in a datacenter is permitted.” In other words, NVIDIA would no longer
16   allow industrial-scale GeForce GPU use in datacenters—unless it was for crypto-mining. This explicit
17   carve-out for crypto-miners demonstrated that Defendants understood both that large-scale commercial

18   mining farms were driving the rise in GeForce sales and that miners were relying substantially on GeForce

19   GPUs, not the Crypto SKU, to power their mining operations. As FE 2 put it, “they knew GeForce was
20   being used for crypto, and there was no way they could convince [miners] to use a pro GPU, so they carved
21   it out.”

22
                E.     Post-Class Period Reports of Securities Analysts Corroborate NVIDIA’s Dependence
23                     on Crypto-Related GeForce Sales During the Class Period

24              139.   Consistent with the accounts of NVIDIA’s former employees, research analysts published

25   reports after the Class Period showing that, contrary to Defendants’ public representations to investors

26   during the Class Period, much of NVIDIA’s rising revenues in its Gaming segment were not from GeForce

27   sales to gamers, but rather from GeForce sales to crypto-miners.

28

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 1          140.   In January 2019, for example, RBC produced a report seeking to analyze what the true effect

 2   of cryptocurrency-related sales had been on NVIDIA’s revenue from February 2017 to July 2018. The

 3   report concluded that NVIDIA had “generated $1.95B in total revenue related to crypto/blockchain.” The

 4   report pointedly noted that “[t]his compares to [the] company’s statement that it generated ~$602M over

 5   the same time period” in the OEM segment. In other words, RBC’s analysis indicated that NVIDIA had
 6   understated its cryptocurrency-related revenue by $1.35 billion over an 18-month period that overlapped
 7   with the Class Period. Put differently, Defendants had disclosed only 30.8% of its cryptocurrency-related
 8   sales, all of which it had reported in its OEM segment, while Defendants did not specifically report any
 9   cryptocurrency-related sales in its Gaming segment.

10          141.   Industry press seized on the RBC analysis immediately, producing headlines such as

11   “Analyst says Nvidia lied about its cryptocurrency earnings to avoid stock crash: They may have
12   concealed revenue to mask shrinking demand” (TechPost); “Analyst Finds Nvidia Earned $1.35 Billion
13   More in Total Crypto Revenue Than Stated” (Yahoo! Finance); “RBC Capital Markets Analyst

14   Investigates NVIDIA Earnings, Discovers Over $1 Billion More Than Stated” (Bitcoin Exchange Guide);
15   and “Chipmaker NVIDIA Could Have Masked Revenue Figures, Says Royal Bank of Canada Analyst”
16   (Blokt). TechPost observed that “the steep falls [in NVIDIA’s stock price, including at the end of the
17   Class Period] [we]re a strong incentive for Nvidia to mask large fluctuations in revenue.”
18          142.   As Defendants themselves tacitly conceded after the Class Period, their prior statements

19   that Gaming demand had been strong, that only a “small amount” of GeForce sales had gone to miners,

20   and that the “vast majority” of crypto-related demand had been satisfied by the Crypto SKU were false:

21
            We are still working through the excess channel inventory that we have in gaming. We
            indicated back in November that we felt that would take about 1 to 2 quarters to work
22          through. . . . We look at [Gaming revenue over the next year] to be flat to slightly down. .
23          . . We took this opportunity after overall cryptocurrency to find a quarter that was not
            tainted with cryptocurrency to come up with, what we believe is, a normalized run rate for
            overall gaming. . . . [W]e’re still working through that excess inventory [in Gaming].
24

25          F.     Independent Expert Analysis Confirms That NVIDIA Vastly Understated Crypto-
                   Related Sales Throughout the Class Period
26

27          143.   To confirm the accounts of the former employees detailed above and the post-mortem

28   estimates of observers such as RBC, Lead Plaintiffs retained an economic consulting firm with specific

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 1   expertise in the cryptocurrency markets to conduct an independent analysis of NVIDIA’s true reliance on

 2   crypto-related revenues during the Class Period.      This analysis confirmed that Defendants grossly

 3   understated NVIDIA’s crypto-related sales, misleading investors into believing that growth in NVIDIA’s

 4   all-important Gaming segment was due to traditional demand from gamers instead of crypto-miners.

 5          144.    Prysm Group is an economic consulting firm based in New York and Los Angeles that

 6   specializes in distributed ledger and blockchain technology. Prysm Group is led by Drs. Cathy Barrera

 7   and Stephanie Hurder, aided by a team of analysts.

 8          145.    Dr. Barrera received her PhD in Business Economics from Harvard University. She was

 9   previously a former tenure-track Professor of Economics at the S.C. Johnson School of Management at

10   Cornell University and the Chief Economist at ZipRecruiter. Her research on the economics of blockchain

11   has been presented at the Defense Advanced Research Projects Agency (DARPA), the Federal Reserve,

12   Harvard University, and Stanford University.

13          146.    Dr. Hurder also holds a PhD in Business Economics from Harvard University. She

14   previously served as a Visiting Scholar at the Center for Cyber-Physical Systems and the Institute of

15   Technology at the University of Southern California and is a former management consultant with the

16   Boston Consulting Group. She has led seminars on the economics of blockchain for groups including IBM

17   Blockchain Accelerator, Polychain Capital, and Tech Coast Angels.

18          147.    Prysm Group designed and performed a rigorous demand-side analysis to determine the

19   amount of NVIDIA revenues attributable to crypto-related sales from May 2017 through July 2018. The

20   analysis measured the additional computing power appearing on major GPU-mined blockchain networks,

21   estimated the total number of GPUs needed to account for that additional computing power, then calculated

22   the number of units and corresponding revenues captured by NVIDIA based on its share of cryptocurrency-

23   related GPU sales. The data employed in this analysis was derived from NVIDIA’s own financial

24   statements and internal documents, independent financial analysts, and third-party data sources recognized

25   as credible and upon which Drs. Barrera and Hurder regularly rely as blockchain-focused economists.

26          148.    Specifically, Drs. Barrera and Hurder examined the top three GPU-mined cryptocurrencies

27   during the Class Period (Ether, Z-Cash, and Monero) for changes in each currency’s hashrate, which

28   measures how much computational power is being used by the network for mining. Drs. Barrera and

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 1   Hurder analyzed these three cryptocurrency networks because they were the three most popular GPU-

 2   mined cryptocurrencies during the Class Period according to cryptocurrency industry sources such as

 3   cointelligence.com and coinmarketcap.com, which are reliable sources of cryptocurrency information on

 4   which Drs. Barrera and Hurder regularly rely in their work.8 The most popular cryptocurrency network,

 5   the Bitcoin network, was not included in the Prysm Group’s analysis because that network was mined with

 6   ASICs, not GPUs, by the time the Class Period began, as mining Bitcoin with GPUs had already become

 7   unprofitable. See supra note 4. In contrast, Ether, Monero, and Z-Cash were resistant to ASICs mining

 8   and were instead mined with GPUs. Had additional GPU-mined cryptocurrency networks been included

 9   in the Prysm Group’s analysis, the resulting estimates of crypto-related NVIDIA GPU sales and revenues

10   would have been even higher. Accordingly, inclusion of only the three most popular GPU-mined

11   cryptocurrencies reflects the conservative nature of Drs. Barrera and Hurder’s approach.

12            149.   For each of the three cryptocurrency networks examined, Drs. Barrera and Hurder first

13   calculated the quarter-over-quarter change in the network’s hashrate (i.e., the processing power devoted to

14   mining the network’s cryptocurrency). All hashrate data was obtained from bitinfocharts.com and

15   whattomine.com, two of the most widely used sources of network hashrate data in the blockchain

16   community. The quarter-by-quarter increase in the hashrate was computed using the maximum hashrate

17   during each quarter and subtracting the maximum from the previous quarter, thus assuming that any GPUs

18   used at the network’s peak during the prior quarter were available for use during the subsequent quarter,

19   producing a conservative calculation.9 The increase in the average daily hashrate from May 2017 to June

20   2018 was 269 THz/s for Ethereum, 714 MHz/s for Zcash, and 990 MHz/s for Monero.

21            150.   After calculating the new hashing power added to these three cryptocurrency networks

22   during the Class Period, Drs. Barrera and Hurder determined the total units of various popular GPUs

23   required to provide that increase in computational power. The five most popular NVIDIA GPUs used for

24
     8
         The RBC report discussed above similarly examined only Ether, Z-Cash, and Monero. See ¶ 140.
25
     9
       The total number of GPUs sold for mining in a given quarter would include both (1) GPUs accounting
26   for the increase in hashing power that quarter, and (2) GPUs purchased to replace old stock that had become
     obsolete. Because Drs. Barrera and Hurder had no ready source of reliable data regarding the number of
27   GPUs that became obsolete each quarter, their analysis calculated only the number of GPUs necessary to
28   account for the increase in network hashing power. This resulted in a conservative estimate of NVIDIA’s
     crypto-related GPU sales during the Class Period.

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 1   cryptocurrency mining during the Class Period were the GeForce GTX 1060, the GeForce GTX 1070, the

 2   GeForce GTX 1070 TI (introduced in November 2017), the GeForce GTX 1080, and the GeForce

 3   GTX 1080 Ti.10 During the summer of 2017, NVIDIA also introduced two models of the Crypto SKU,

 4   the P104-100 and the P106-100.11 Of all these products used for mining, the GeForce GTX 1060 was both

 5   the least expensive and the most economical in the computational power it delivered relative to its cost

 6   (i.e., it produced the most Hz/s per dollar). Drs. Barrera and Hurder conservatively employed the price

 7   and hashrate parameters of the GeForce GTX 1060, as this produced the lowest revenue estimate of any of

 8   NVIDIA’s GPUs. Based on the GeForce GTX 1060’s hashing power, the hashrates per GPU on each of

 9   the three cryptocurrency networks under examination were 22.5 MHz/s per GPU on the Ethereum network,

10   300 Hz/s per GPU on the Zcash network, and 390 Hz/s on the Monero network. Using these conservative

11   hashrate estimates, Drs. Barrera and Hurder estimated that approximately 16.9 million units were sold

12   industry-wide to cryptocurrency miners during the Class Period.

13          151.   To determine the revenues that NVIDIA received for each GeForce GPU unit sold to

14   miners, Drs. Barrera and Hurder relied on manufacturer’s suggested retail prices (“MSRPs”) of GeForce

15   GTX 1060 models, then applied a retail markup to discount the MSRP to an appropriate estimate of the

16   revenue that NVIDIA received from sales into its distribution channels. While the MSRP of the most

17   popular GeForce GTX 1060 model, which had 6GB of RAM, was approximately $250, a less popular but

18   less expensive 3GB GeForce GTX 1060 model was also available, which had an MSRP of approximately

19   $200. Again electing to utilize conservative estimates, Drs. Barrera and Hurder used the $200-per-unit

20   MSRP. Further, Drs. Barrera and Hurder applied a conservative 33% retail markup estimate, resulting in

21   wholesale revenues to NVIDIA of $150 per unit.12 Drs. Barrera and Hurder conservatively applied this

22

23   10
       Miners’ preference for these GeForce models was confirmed through reports in coincentral.com and
24   other industry sources.
     11
       According to various industry news sources and tech-focused blogs such as Yahoo! News, Steem, and
25   TechPowerUp, the P104-100 and P106-100 were “variants” of the GeForce GTX 1060 with virtually
26   identical processing power and performance to the GeForce GTX 1060 but which sold for an equal or
     higher price point than the GeForce GTX 1060.
27   12
        Prominent computing industry analyst and media owner Linus Sebastian reports that the retail markup
28   for GPUs is less than 10%, underscoring the conservativeness of Drs. Barrera and Hurder’s application of
     a 33% markup.

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 1   $150-per-unit metric to all of NVIDIA’s Class Period GeForce GPU sales, even though the other popular

 2   NVIDIA GPU models favored by miners during this period sold for hundreds of dollars more per unit.13

 3          152.   To estimate the number of NVIDIA’s GPU sales to miners and its corresponding revenues,

 4   Drs. Barrera and Hurder determined that NVIDIA maintained a cryptocurrency-specific market share of

 5   approximately 69%. While NVIDIA has not publicly disclosed its own estimate of global GPU sales to

 6   miners, Drs. Barrera and Hurder based their 69% crypto-market share parameter on data from both third-

 7   party sources and NVIDIA itself. These include the following:

 8                 a.     Jon Peddie Research Global Market Share Data for the Crypto-Miner Market.
 9          Jon Peddie Research, a prominent computer industry research firm, provides commercially

10          available market share data and analysis of the GPU market, using proprietary analytic models to

11          estimate NVIDIA’s market share in this product category. These estimates are used by major

12          investment firms throughout the financial industry to analyze market dynamics.        Moreover,

13          Defendants themselves regularly cite Jon Peddie Research reports as a reliable source of industry

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       Had Drs. Barrera and Hurder assumed a product mix that included higher-end units (such as the GeForce
27   GTX 1080 Ti), the resulting analysis would have produced an estimate of lower unit sales but higher
28   revenues. Applying the GeForce GTX 1060’s specifications to all GPUs during the Class Period resulted
     in a conservative estimate of NVDIA’s revenues from sales to miners during the Class Period.

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 1          data, including market share estimates.14 In 2018, Jon Peddie Research published a study that

 2          analyzed NVIDIA’s market share of sales specifically for cryptocurrency mining. The report

 3          analyzed crypto-specific GPU sales from calendar-year 2015 (when such sales were negligible)

 4          through the fourth quarter of calendar-year 2017 (when they exploded) and estimated NVIDIA’s

 5          market share to have been approximately 69.4% in 3Q17 and 68.6% in 4Q17 (both calendar year).

 6                   b.       RBC Global Market Share Data for the Crypto-Miner Market. The January
 7          2019 RBC report discussed in Section V(E) estimated that NVIDIA’s crypto-specific global GPU

 8          market share from February 2017 to July 2018 was 75%. See ¶ 140. RBC’s estimate is roughly in

 9          line with the crypto-specific GPU market share estimate calculated by Jon Peddie Research noted

10          above.        Nevertheless, Drs. Barrera and Hurder’s parameter of 69% is significantly more

11          conservative than RBC’s estimate.

12

13   14
       NVIDIA publicly relies on Jon Peddie Research as a reliable source of industry market share data. See,
14   e.g., May 8, 2014 1Q15 NVIDIA Earnings Conference Call Tr. (“Unless otherwise noted, all references to
     market research and market share numbers throughout the call come from Mercury Research or Jon
15   Peddie Research.”); Aug. 7, 2014 2Q15 NVIDIA Earnings Conference Call Tr. (same). Indeed, NVIDIA
     has publicly described Jon Peddie Research as “the leading market research company tracking
16   multimedia and graphics technology.” Press Release, NVIDIA Launches the GeForce4 GPUs, NVIDIA
     (Feb. 6, 2002), https://www.nvidia.com/object/IO_20020205_6195.html; see also Greg Estes, Is the
17
     Democratization of Graphics a Good Thing?, NVIDIA Blogs (July 24, 2013),
18   https://blogs.nvidia.com/blog/2013/07/24/democratization/ (describing Jon Peddie Research as “one of the
     premier market research firms in the computer graphics industry”); Alan Tiquet, Startups Talk About
19   Their      Not-So-Secret      Weapon:        GPUs,      NVIDIA         Blogs      (Sept.    28,   2016),
     https://blogs.nvidia.com/blog/2016/09/28/startups-deep-learning/ (calling Jon Peddie “the eminence gris
20   of industry analysts”). Defendants have also cited Jon Peddie Research as a reliable source of other
21   industry data in a variety of contexts and media, including NVIDIA Investor Day presentations, press
     releases, publicly issued white papers, and Company blog posts. See, e.g., May 20, 2017 NVIDIA Investor
22   Day Tr. (citing Jon Peddie Research’s estimates of the total addressable markets for software and
     hardware); Press Release, Reinvents Computer Graphics With Turing Architecture, NVIDIA (Aug. 13,
23   2018), https://nvidianews.nvidia.com/news/nvidia-reinvents-computer-graphics-with-turing-architecture
     (quoting Jon Peddie for analysis of ray tracing in computer graphics market); White Paper, NVIDIA Grid
24
     Virtual PC and Virtual Apps (Dec. 2019), https://www.nvidia.com/content/dam/en-zz/Solutions/design-
25   visualization/solutions/resources/documents1/NVIDIA_GRID_vPC_Solution_Overview.pdf (citing Jon
     Peddie Research estimate of productivity effect of multiple displays); Will Park, Shock and Awe: What the
26   Experts Are Saying About NVIDIA Tegra X1, NVIDIA Blogs (Jan. 4, 2015),
     https://blogs.nvidia.com/blog/2015/01/04/what-experts-saying-tegra-x1/ (quoting Jon Peddie assessment
27   of Tegra X1 processor); Brian Burke, 10 Ways NVIDIA Makes VR a Reality, NVIDIA Blogs (Mar. 16,
28   2016), https://blogs.nvidia.com/blog/2016/03/16/nvida-vr-gaming/ (quoting “veteran industry watcher Jon
     Peddie”).

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 1                  c.     NVIDIA’s Internal Study of Cryptocurrency-Related GPU Demand in China.
 2          The September 2017 study of cryptocurrency-related GeForce GPU demand in China
 3          commissioned by Defendant Fisher and other top NVIDIA executives asserted that NVIDIA was
 4          capturing more than 70% of mining-driven GPU sales in China. See ¶ 121. As noted earlier, the

 5          China market was NVIDIA’s largest by far, accounting for more revenues than the rest of the world

 6          combined. ¶ 79. Drs. Barrera and Hurder’s crypto-market share parameter of 69% is thus very

 7          close to, but more conservative than, NVIDIA’s own estimate of its crypto-specific market share

 8          in the region that accounted for greater than half of the Company’s sales.

 9          153.    Applying the methodology described above, Prysm Group concluded that NVIDIA earned

10   cryptocurrency-mining-driven revenue of $1.728 billion over this period. Prysm Group’s data-rich
11   computation contrasts materially with the $602 million in crypto-related sales disclosed by NVIDIA, all
12   of which resided in the Company’s Crypto SKU in the OEM segment.15 The difference in figures means
13   that Defendants understated NVIDIA’s crypto-related GPU sales by $1.126 billion from May 2017 to
14   July 2018.
15          154.    Prysm Group’s comparison of reported-versus-actual crypto-related GPU sales is set forth

16   below and demonstrates that Defendants consistently understated their true crypto-related revenue—by an

17   average of $225.2 million per quarter:

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     15
       RBC’s estimate of NVIDIA’s crypto-related GPU revenue was $1.95 billion, approximately 12% higher
24
     than the Prysm Group’s estimate. This slight variance is explained by, most notably, the fact that the RBC
25   analysis spanned 18 months (February 2017 to July 2018), compared to the Prysm Group’s analysis of
     15 months (May 2017 to July 2018). Second, as explained above, Drs. Barrera and Hurder relied on a
26   more conservative analysis that produced a correspondingly more conservative estimate of NVIDIA’s
     crypto-related revenues. For example, RBC estimated NVIDIA’s revenue at $220 per GPU and estimated
27   that NVIDIA captured 75% of the cryptocurrency-related market, whereas Drs. Barrera and Hurder
28   estimated NVIDIA’s revenue at $150/GPU to account for distributors’ profit margins on GPUs, and
     estimated that NVIDIA captured 69% of the cryptocurrency-related market.

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 1
                              FY 2018                           FY 2019
 2
                   2Q18       3Q18         4Q18          1Q19           2Q19            Total
 3
                                NVIDIA’s Reported Revenues for Crypto SKU
 4
                   $150m      $70m         $75m         $289m           $18m           $602m
 5
                                   Actual Cryptocurrency-Related Revenues
 6
                   $349m     $299m         $541m        $364m          $175m          $1,728m
 7

 8                         Difference Between Reported Revenues for Crypto SKU
                                and Actual Cryptocurrency-Related Revenues
 9
                   $199m     $229m         $466m         $75m          $157m          $1,126m
10

11          G.      The Truth Emerges

12                  1.     August 16, 2018: With Demand from Crypto-Miners Gone and Inventory
                           Ballooning, Defendants Falsely Assure Investors That They Are “Masters” of
13                         Managing NVIDIA’s Channel
14          155.    Investors first began to learn about the extent of NVIDIA’s true dependence on sales to

15   cryptocurrency miners on August 16, 2018, when the Company lowered its revenue guidance by

16   approximately 2.2% for 3Q18 and revealed that it no longer expected a meaningful contribution from

17   cryptocurrency miners for the remainder of the year. Kress stated that while the Company “had previously

18   anticipated cryptocurrency to be meaningful for the year, we are now projecting no contributions going

19   forward.” The Company’s revised earnings forecast—which “includ[ed] no contribution from crypto”—

20   was significantly lower than the market had expected. When asked by analysts for more detail about

21   NVIDIA’s revised forecast, Kress admitted that “over the last several quarters, we have seen the impacts

22   of crypto and what that can do to elevate our overall gross margins.” Kress further explained, “We believe

23   we have reached a normal period as we’re looking forward to essentially no cryptocurrency as we go

24   forward.” For his part, Huang conceded that “probably . . . a great deal” of cryptocurrency miners had

25   bought NVIDIA’s GeForce gaming cards, partially exposing the truth that NVIDIA’s cryptocurrency-

26   related exposure was not contained almost exclusively in the reported revenues for the OEM segment.

27   Separately, the Company revealed that inventories had ballooned more than 36% from $797 million in

28   2Q19, to $1.09 billion in 3Q19.


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 1          156.     On the news of NVIDIA’s lowered guidance and swelling inventory, the price of NVIDIA’s

 2   stock fell by 4.9%, from a close of $257.44 per share on August 16, 2018, to a close of $244.82 per share

 3   on August 17, 2018.

 4          157.     Investors and the financial press immediately connected the share price decline to

 5   NVIDIA’s guidance revision and soft results from its cryptocurrency sales.            In an early-morning

 6   August 17, 2018 article entitled “Nvidia stock drops as crypto-mining decline overshadows earnings beat,”

 7   Reuters reported that NVIDIA’s shares “fell as much as 5 percent in after-hours trading on Thursday after

 8   the chip maker said cryptocurrency-fueled demand had dried up and it forecast sales below Wall Street

 9   targets, overshadowing quarterly results that otherwise beat expectations.” Similarly, in an article entitled

10   “NVIDIA Earnings Soar 91%, but Cryptocurrency Bust Spooks the Market,” financial press outlet The

11   Motley Fool posited that “[t]he culprit [for NVIDIA’s stock price decline] was third-quarter revenue

12   guidance coming in lower than Wall Street was expecting, due to the company anticipating that sales to

13   the cryptocurrency market will continue to decline significantly.”

14          158.     NVIDIA’s August 16, 2018 disclosure partially corrected Defendants’ prior materially

15   misleading misstatements and omissions, which had falsely minimized the impact of cryptocurrency-

16   related sales on NVIDIA’s financial performance, by demonstrating that cryptocurrency-related sales were

17   in fact a substantial and significant driver of the Company’s revenues and, specifically, its Gaming segment

18   revenues.     Notwithstanding that partially corrective information, Defendants did not disclose that

19   (1) beginning in 2017, NVIDIA had built up its inventory of GeForce GPUs in order to satisfy anticipated

20   continued demand from crypto-miners (see ¶ 114); (2) there was insufficient organic gaming demand for

21   GeForce GPUs to mitigate the loss of cryptocurrency-related demand; and (3) the Company’s glut of

22   unsold GeForce GPUs would in fact persist and negatively impact the Company’s financial performance

23   because gamers could not replace the demand from crypto-miners. In fact, Huang downplayed concerns

24   about the rapid growth of NVIDIA’s inventory:

25          We’re expecting the channel inventory to work itself out. We are masters at managing
            our channel, and we understand the channel very well. As you know, the way that we
26          go to market is through the channels around the world. We’re not concerned about the
27          channel inventory. As we ramp Turing, any—whenever we ramp a new architecture, we
            ramp it from the top down. And so we have plenty of opportunities as the—as we go back
28          to the back-to-school and the gaming cycle to manage the inventory, so we feel pretty good
            about that.
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 1   These remarks echoed Huang’s earlier claims that any decline in crypto-related demand would be absorbed

 2   by demand from gamers, NVIDIA’s “core business.”

 3          159.    Analysts credited Defendants’ reassuring statements. For example, on August 16, 2018,

 4   Evercore expressed the view that Defendants’ “commentary on inventory suggests a relatively well-

 5   managed channel,” noting that “the company suggested that the channel inventory was at the low end of

 6   the range[.]” The next day, CFRA Equity Research reported that “[w]e think NVDA has de-risked its

 7   portfolio from crypto”; MKM Partners reached the same conclusion in a report entitled “Crypto De-risked,

 8   Inventory Normalization is Next Step”; and UBS reported that “crypto has now fully reset to make things
 9   simpler going forward[.]” Also on August 17, 2018, Morgan Stanley discussed the increase in inventory,

10   reporting Defendants’ statements on the earnings call and that “[i]n our callback, the company expressed

11   confidence that this would be a smooth channel transition, and that inventories are not out of line.”
12   MKM Partners’ report echoed Huang’s claim about inventory, stating that “we believe that lower end GPU
13   product will likely work itself through by the end of the October quarter.” The same day, JPMorgan
14   summarized, “the demand environment remains strong in the current quarter on continued blockbuster

15   gaming titles/e-sports strength.”

16
                    2.      November 15, 2018: Investors Learn New Information Regarding NVIDIA’s
17                          Reliance on Crypto-Miners, Exposing a Glut of Unsold GeForce Inventory

18          160.    Defendants’ false assurances aside, the news soon got significantly worse.            On

19   November 15, 2018, investors received a more complete picture of NVIDIA’s dependence on crypto-

20   mining demand when the Company issued financial results for 3Q19, announcing a nearly 2% revenue

21   miss. Moreover, NVIDIA announced that it was expecting revenues of only $2.7 billion in 4Q19, a 7%
22   decline year-over-year.
23          161.    In her prepared remarks, Kress acknowledged the full extent to which the Company’s

24   Gaming revenues had been dependent on cryptocurrency-related demand: “Gaming was short of
25   expectations as post crypto channel inventory took longer than expected to sell through. Gaming card
26   prices, which were elevated following the sharp crypto falloff, took longer than expected to normalize.”

27   This, of course, could not have been the case had Kress’s prior assurances that the “vast majority” of

28   crypto-related demand was met by the Crypto SKU been true. Nevertheless, Kress stated:

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 1          Let’s continue with our gaming business. . . . Although the cryptocurrency wave has ended,
            the channel has taken longer than expected to normalize. . . . [O]n midrange Pascal
 2          [GeForce] gaming cards, both channel prices and inventory levels remained higher than
            expected.
 3

 4   Kress also noted gross margin results “below our outlook . . . following the sharp falloff in crypto demand.”

 5          162.    Of equal significance, Defendants disclosed that this problem—excess Gaming GPU

 6   inventory following the disappearance of crypto-miners—would persist for at least 12 weeks, which Huang

 7   admitted would amount to about $600 million in lost revenue. The Company’s 8-K confirmed that the

 8   disappointing “gaming revenue outlook for the fourth quarter of fiscal 2019 [was] impacted by the expected

 9   work-down of Pascal [GeForce] mid-range gaming card inventory in the channel . . . [and] assumes no

10   meaningful shipments of mid-range Pascal GPUs during the quarter.” Defendants’ purported “mastery of

11   the channel” had been a fiction; to the contrary, they had flooded the channel with GeForce inventory to

12   meet crypto-miners’ demand just as that demand began its inevitable decline. Without the throngs of

13   gamers waiting to buy up these products as Defendants had promised, NVIDIA was forced to wait until

14   the inventory could be burned off, recognizing no new revenue for new shipments for at least a full quarter.

15          163.    During the question-and-answer session that followed, virtually every question focused on

16   NVIDIA’s inventory problem, with analysts expressing their surprise at the disclosures in light of

17   Defendants’ prior statements. For example, an analyst at BofA Merrill Lynch queried, “[W]hat needs to

18   happen to work down this midrange Pascal inventory? . . . Because the thinking was that this could be

19   cleared within the October quarter, but it hasn’t.” Huang responded, “[W]e came into Q3 with excess

20   channel inventory post the crypto hangover.”

21          164.    A Sanford C. Bernstein & Co. analyst observed that the Company’s revelations did not

22   square with Defendants’ assurances earlier in the Class Period:

23          [T]he last several quarters, you’ve been saying, like on this call, that you guys felt like you
24          had a really good handle on the channel, and yet it seems like maybe that wasn’t exactly
            the case. . . . Like what happened? Because this tone is a little different from what we’ve
25          heard over the last few earnings calls from you.

26          165.    Huang again had to concede that the supposed pent-up demand for the Company’s Gaming

27   GPUs was not real, stating that “[t]he crypto hangover lasted longer than we expected.”
28

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 1          166.    The day after the call, analysts from BMO questioned Defendants’ credibility: “[t]he large

 2   shortfall in guidance due to a bloated channel due to crypto-currency is in sharp contrast to the comments
 3   around channel inventory from the company at the last earnings call,” noting also that “there is a high
 4   likelihood that NVIDIA will not grow next year.” BMO concluded that “NVIDIA’s growth in gaming
 5   over the last year and half was aided in a large part due to a 1x event [cryptocurrency] which is not
 6   coming back, at least not any time soon.”
 7          167.    Analysts at Deutsche Bank reported the same day, “Gaming does not appear to be as
 8   compelling an example of growth as many previously believed,” observing that “NVDA finally stumbled
 9   as the fall-off in crypto demand and the resulting ballooning of inventory impacted its quarter and more

10   severely impacted the guidance.” Deutsche Bank concluded, “we expect the inventory adjustment to reset

11   Gaming segment expectations to a meaningfully lower level and call into question what the true growth
12   rate of Gaming was/is.” Similarly, Macquarie noted that the “[m]agnitude of the weakness suggests that
13   the crypto benefit was much higher than previously thought, and could raise questions about Gaming
14   growth.”
15          168.    Also on November 16, 2018, Morgan Stanley also questioned the veracity of Defendants’

16   prior assurances. Its analysts first predicted, “[t]he stock will likely not bounce back right away, given the

17   severity of the miss post management voicing confidence throughout the quarter that the litany of cautious

18   data points did not signal a potential problem in gaming.” Morgan Stanley continued:

19
            The implication of [Defendants’] commentary is that a larger portion of demand in late
20          2017/early 2018 was for crypto than they had initially indicated, and that an end to the
            crypto bubble caused a channel refill which overshot. As a result, in the January quarter,
21          the company will literally ship almost no Pascal product into the channel, to allow
22          inventory to clear. Pascal product is about one-third of the total gaming business.

23   Morgan Stanley indicated that the Company’s 3Q19 revelations gave reason to doubt Defendants’ prior

24   statements regarding the supposedly strong demand from gamers:

25
            There is also the question of where end demand actually has been, ex-crypto; the gaming
26          business peaked at $1.7 bn per quarter, but given that we now have to burn off more than
            $500 mm worth of channel inventory, end demand was probably closer to $1.5 bn.
27

28

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 1   The report concluded, “the stock isn’t likely to snap back right away, as investors that we talked to are

 2   certainly asking some tougher questions.”

 3          169.    Under the heading, “Our Conclusion—Frustrating,” a November 15, 2018 Wells Fargo

 4   report focused on Defendants’ contradictory statements about the Company’s inventory:

 5          While we can appreciate that NVIDIA’s weak F4Q19 outlook is impacted by a 1-2 quarter
 6          work-down of Pascal mid-range gaming card inventory in the channel (~$600M; assuming
            no sell-in in F4Q19 as crypto-related dynamics flush through the channel), coupled with a
 7          seasonal decline in game console builds, we think investors will be frustrated by
            NVIDIA’s comments exiting F2Q19 that: “. . . we [NVIDIA] see inventory at the lower-
 8          ends of our stack . . . inventory is well positions for back-to-school and building season
 9          that’s coming up on F3Q19 . . .” (quotations and modifications in original).

10   The two sets of statements could not be squared.

11          170.    The news media was equally surprised by the revelation that NVIDIA’s revenues had been

12   driven by unsustainable cryptocurrency mining. On November 17, 2018, VentureBeat published an

13   interview it had conducted with Huang shortly after NVIDIA’s disastrous November 15 announcements.

14   The interviewer explained: “I . . . thought [cryptocurrency] was never really more than a tenth of your
15   revenue. It does surprise me that it can come back and have this bigger effect.” Underscoring the surprise,
16   he asked:

17          How do we get to larger numbers that actually affect the quarterly results, though? Again,
            it seemed, in the past, that it was described as a small part of revenue, and now it’s
18
            something that can affect one or two quarters worth of inventory. It’s hard for me to
19          understand why it makes a big difference.

20   When Huang tried to explain away NVIDIA’s results as being driven by AMD’s excess inventory, the

21   interviewer expressed disbelief, stating, “I’m just trying to understand how this comes back to cause a

22   $20 billion swing in a stock price.”

23          171.    On the news, NVIDIA’s stock price plummeted 28.5% over two trading sessions, from a

24   close of $202.39 per share on November 15, 2018, to close at $144.70 per share on November 19, 2018.

25          172.    Defendants made materially false and misleading statements during the Class Period about

26   (1) the supposedly strong continued demand for GeForce GPUs from gamers, rather than crypto-miners;

27   (2) NVIDIA’s supposed satisfaction of “most” or the “vast majority” of its crypto-related demand through

28   the Crypto SKU reported in the OEM segment’s revenue, as opposed to the Gaming segment’s revenue;


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 1   (3) NVIDIA’s capacity to easily absorb volatility in crypto-related demand; and (4) Defendants’ ability to

 2   manage fluctuations in inventory resulting from crypto-related demand volatility. These materially false

 3   and misleading statements caused NVIDIA’s common stock to trade at artificially inflated prices. Before

 4   Defendants revealed the truth through the disclosures on August 16, 2018, and November 15, 2018, the

 5   market believed NVIDIA’s statements to investors. The disclosure of previously misrepresented and

 6   concealed facts about these and other matters caused the price of NVIDIA’s common stock to decline

 7   markedly, wiping out billions of dollars in shareholder value.

 8          173.     It was entirely foreseeable that concealing from the public, among other things, that:

 9   (1) a substantial portion of NVIDIA’s recent growth in its Gaming segment—the Company’s largest—was

10   due to sales to crypto-miners, not gamers; (2) NVIDIA’s exposure to crypto-related volatility was not

11   mostly contained in its significantly smaller OEM segment; (3) demand from gamers was insufficient to

12   compensate for the decline in crypto-related sales when cryptocurrency prices declined; and (4) Defendants

13   could not properly manage the glut of GeForce GPU inventory left over when crypto-related demand

14   declined, would artificially inflate the price of NVIDIA’s securities. It was also foreseeable that the

15   disclosure of this information and the materialization of concealed risks associated with Defendants’

16   misconduct would cause the price of NVIDIA securities to decline as the inflation caused by Defendants’

17   earlier misrepresentations and omissions was removed from the price of NVIDIA’s securities. The timing

18   and magnitude of the price declines, and associated market commentary, negate any inference that the

19   losses suffered by Lead Plaintiffs and the Class were caused by facts unrelated to Defendants’

20   misrepresentations and omissions. Accordingly, the conduct of Defendants, as alleged herein, proximately

21   caused foreseeable losses for Lead Plaintiffs and the Class, who purchased NVIDIA securities during the

22   Class Period.

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 1   VI.    DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS16
 2          174.    Defendants made materially false and misleading statements to investors during the Class
 3   Period in violation of Sections 10(b) and 20(a) of the Exchange Act and Rule 10b-5 promulgated
 4   thereunder. Among other things:

 5          (i)     Defendants represented that cryptocurrency mining was, at most, a small,
                    immaterial driver of NVIDIA’s overall revenues, when in fact cryptocurrency
 6
                    mining drove a significant amount of NVIDIA’s revenues throughout the Class
 7                  Period;

 8          (ii)    Defendants represented that revenues “for gaming” were driving revenue growth,
                    when in fact a material portion of revenues through NVIDIA’s purported “Gaming”
 9                  segment were actually revenues from sales to cryptocurrency miners, not gamers;
10                  and

11          (iii)   Defendants represented that a majority of NVIDIA’s cryptocurrency-related
                    revenues originated from sales of its Crypto SKU and were reported in its “OEM”
12                  segment, when in fact a majority—over 65%—of its Class Period cryptocurrency-
                    related revenues were obtained through its purported “Gaming” segment. By
13                  reporting revenues for the Crypto SKU but not reporting the cryptocurrency-related
14                  revenues for the GeForce GPUs in the Gaming segment, Defendants understated
                    NVIDIA’s exposure to and dependence on cryptocurrency-related demand by
15                  roughly $1.13 billion over the course of the Class Period.

16          175.    Defendants also omitted material facts when speaking to investors during the Class Period

17   in violation of Sections 10(b) and 20(a) of the Exchange Act and Rule 10b-5 promulgated thereunder.

18   Among other things, Defendants misled investors by omitting that cryptocurrency-related revenues were a

19   material driver of NVIDIA’s overall and Gaming-segment results, and by omitting that NVIDIA’s

20   cryptocurrency exposure extended to revenues categorized within its purported “Gaming” segment. Once

21   Defendants chose to tout NVIDIA’s Gaming-segment and overall revenues and explain key drivers of

22   those results and guidance, and to soothe investor concerns about cryptocurrency-related risks by

23   identifying NVIDIA’s limited exposure via its Crypto SKU, they were required—but failed—to do so in a

24   manner that would not mislead investors, including by disclosing that cryptocurrency mining was a

25

26   16
       In accordance with the Court’s March 16, 2020 Order (ECF No. 146), attached hereto as Exhibit B is a
     summary chart of the false and/or misleading statements and omissions alleged below; the speakers, date,
27   and medium of each statement or omission; the reasons why each statement or omission was false and/or
28   misleading when made; and the facts giving rise to a strong inference of scienter as to each statement or
     omission.

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 1   material driver of NVIDIA’s overall and Gaming-segment revenues and that NVIDIA faced revenue risk

 2   from cryptocurrency-related revenues manifesting not just in its Crypto SKU, but also in its Gaming

 3   segment.

 4            A.     May 10, 2017 NVIDIA Annual Investor Day
 5            176.   On May 10, 2017, Defendants Huang, Kress, and Fisher participated in NVIDIA’s Annual

 6   Investor Day. During the presentation, Defendant Fisher identified the purported “fundamental” drivers

 7   for Gaming revenues as “eSports, competitive gaming, AAA gaming, [and] notebook gaming.”

 8            177.   Defendant Fisher’s statement was materially misleading because it identified the purported

 9   “fundamental” drivers of NVIDIA’s Gaming-segment revenues without mentioning that “Gaming”

10   segment revenues actually were being driven significantly by cryptocurrency mining. Indeed, during

11   second-quarter fiscal 2018, when Defendant Fisher made this statement, $199 million (or 17%) of

12   NVIDIA’s Gaming-segment revenues were actually derived from cryptocurrency mining (not gaming).

13   ¶ 154.

14            178.   Fisher’s statement was also materially misleading because it omitted that (1) sales to

15   cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues at the time

16   (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from miners, showing

17   that over 60% of GeForce sales were, in actuality, to miners (¶ 106); and (3) sales to miners accounted for

18   60% to 70% of GeForce revenues in NVIDIA’s largest market, China, and amounted to at least

19   $120 million in 2Q18 in that market alone. ¶¶ 86, 121.

20            B.     August 10, 2017 Earnings Call
21            179.   On August 10, 2017, Defendants Huang and Kress hosted NVIDIA’s second-quarter fiscal

22   year 2018 earnings call. When Goldman Sachs analyst Toshiya Hari specifically questioned whether

23   cryptocurrency drove NVIDIA’s $250 million second-quarter earnings beat and increased third-quarter

24   guidance, Defendant Huang responded that the Company’s Crypto SKU accounted for just $150 million

25   of second-quarter revenues, and that “we serve the vast . . . majority of the cryptocurrency demand out of

26   that specialized product.”

27            180.   Defendant Huang’s statements identified in paragraph 179 were materially false and

28   misleading because the majority of the cryptocurrency-related revenues during second-quarter fiscal

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 1   2018—$199 million, or 57%—was obtained through NVIDIA’s Gaming segment, not the Crypto SKU.
 2   ¶ 154.

 3            181.   It was also materially false and misleading for Huang to respond to an analyst’s question

 4   about whether cryptocurrency drove NVIDIA’s earnings beat by stating that the Company’s Crypto SKU

 5   accounted for just $150 million of second-quarter revenues when, in fact, cryptocurrency-related sales

 6   accounted for $349 million in revenues that quarter—i.e., over two times the $150 million represented and
 7   almost one-and-a-half times the entire $250 million earnings beat. ¶ 154.

 8            182.   Huang’s statement was also materially misleading because it omitted that (1) sales to

 9   cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues at the time

10   (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from miners, showing
11   that over 60% of GeForce sales were, in actuality, to miners (¶ 106); and (3) sales to miners accounted for
12   60% to 70% of GeForce revenues in NVIDIA’s largest market, China, and amounted to at least
13   $120 million in 2Q18 in that market alone. ¶¶ 86, 121.
14            C.     August 12, 2017 VentureBeat Interview
15            183.   On August 12, 2017, the website VentureBeat published an article containing a transcript
16   of an interview of Defendant Huang conducted shortly after the Company’s August 10, 2017 earnings call.
17   During the interview, the interviewer asked Huang: “Did you say a hallelujah for cryptocurrency?” In
18   response, Huang stated that cryptocurrency mining “represented . . . maybe $150 million or so” and that
19   “our core business is elsewhere.”
20            184.   Defendant Huang’s statements identified in paragraph 183 were materially false and
21   misleading because cryptocurrency actually contributed $349 million to NVIDIA’s revenues for second
22   quarter fiscal 2018—$150 million through NVIDIA’s Crypto SKU, and another $199 million through
23   NVIDIA’s Gaming segment—not the “maybe $150 million or so” Huang claimed. ¶ 154.
24            185.   Huang’s statement also created the false and misleading impression that all of NVIDIA’s
25   cryptocurrency-related revenues for the quarter were captured in the Crypto SKU, when, in fact, the
26   majority of such revenues—$199 million, or 57%—were received through the Gaming segment (not the
27   Crypto SKU). ¶ 154. It was also materially false and misleading for Huang to state that NVIDIA’s “core
28   business is elsewhere”—i.e., not related to cryptocurrencies—when in fact NVIDIA was reaping

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 1   extraordinary revenues from that very source, including $349 million in crypto-related revenues in 2Q18

 2   alone—an amount that was 16% of NVIDIA’s entire 2Q18 revenue and exceeded the revenue generated

 3   by each of three of NVIDIA’s five reporting segments. Id.

 4           186.   Huang’s statement was also materially misleading because it omitted that (1) sales to

 5   cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues at the time

 6   (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from miners, showing

 7   that approximately 60% of GeForce sales were, in actuality, to miners (¶ 106); and (3) sales to miners

 8   accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest market, China, and amounted to at

 9   least $120 million in 2Q18 in that market alone. ¶¶ 86, 121.

10           D.     August 23, 2017 Form 10-Q
11           187.   On August 23, 2017, NVIDIA filed with the SEC its Form 10-Q for second-quarter fiscal

12   2018, which was signed by Defendants Huang and Kress. In the Management’s Discussion and Analysis

13   section, which announced a 59% increase of $701 million in GPU business revenue year-over-year,

14   Defendants represented that the increase “was due primarily to increased revenue from sales of GeForce

15   GPU products for gaming.”
16           188.   It was materially false and misleading for NVIDIA, Huang, and Kress to state that the

17   increase in GPU business revenue year-over-year “was due primarily to increased revenue from sales of

18   GeForce GPU products for gaming” when, in fact, approximately 50% of the $701 million increase in
19   Gaming revenues—$349 million—came from sales for cryptocurrency mining, not gaming. ¶ 154.

20           189.   Huang, Kress, and NVIDIA’s statement was also materially misleading because it omitted

21   that (1) sales to cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues

22   at the time (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from

23   miners, showing that approximately 60% of GeForce sales were, in actuality, to miners (¶ 106); and

24   (3) sales to miners accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest market, China.

25   ¶ 86.

26           E.     September 6, 2017 Citi Global Technology Conference
27           190.   On September 6, 2017, Defendant Kress spoke on behalf of NVIDIA at the Citi Global

28   Technology Conference. During the conference, Citigroup analyst Atif Malik asked Kress: “[W]hat steps

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 1   has NVIDIA taken to avoid cannibalization of core gaming market from these cards?” In response, Kress

 2   stated, “we covered most of cryptocurrency with our cryptocards [Crypto SKU] that we had developed[.]”

 3          191.    Defendant Kress’s statement that “we covered most of cryptocurrency with our cryptocards

 4   that we had developed” identified in paragraph 190 was materially false and misleading because the

 5   majority of cryptocurrency-related demand was not being satisfied through NVIDIA’s cryptocurrency-

 6   specific cards, but rather through the Company’s GeForce gaming GPUs. Indeed, in second quarter fiscal

 7   2018, 57% of NVIDIA’s cryptocurrency revenues (or $199 million) were realized through the Gaming

 8   segment, not through the Crypto SKU, while in third-quarter fiscal 2018, 77% of NVIDIA’s

 9   cryptocurrency revenues (or $229 million) were realized through the Gaming segment, not through the

10   Crypto SKU. ¶ 154.

11          192.    Kress’s statement was also materially misleading because it omitted that (1) sales to

12   cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues at the time

13   (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from miners, showing

14   that approximately 60% of GeForce sales were, in actuality, to miners (¶ 106); and (3) sales to miners

15   accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest market, China. ¶ 86.

16          F.      November 9, 2017 Earnings Call
17          193.    On November 9, 2017, Defendants Huang and Kress hosted NVIDIA’s third-quarter fiscal

18   2018 conference call. During the call, Citigroup analyst Atif Malik asked Huang and Kress to “quantify

19   how much crypto was in the October quarter [third-quarter fiscal 2018] and expectations in the January

20   quarter directionally” and explain “why should we think that crypto won’t impact the gaming demand in

21   the future.” In response, Kress stated that NVIDIA’s “specific crypto [cards] equated to about $70 million

22   of revenue, which is the comparable to the $150 million that we saw last quarter.”

23          194.    Defendant Kress’s statement identified in paragraph 193 was materially misleading and

24   omitted material facts. It was materially misleading for Kress to respond to a question about “how much

25   crypto was in the October quarter” by stating that NVIDIA’s “specific crypto [cards] equated to about $70

26   million of revenue, which is the comparable to the $150 million that we saw last quarter” when, in fact,

27   77% of NVIDIA’s total cryptocurrency-related revenues (i.e., $229 million) were from sales to

28   cryptocurrency miners through the Gaming segment, not the OEM segment’s Crypto SKU. ¶ 154.

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 1           195.   Kress’s statement was also materially misleading because it omitted that (1) sales to

 2   cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues at the time

 3   (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from miners, showing

 4   that approximately 60% of GeForce cards were, in actuality, being used for crypto-mining (¶ 106); and

 5   (3) sales to miners accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest market, China.

 6   ¶ 86.

 7           G.     November 10, 2017 VentureBeat Interview
 8           196.   On November 10, 2017, VentureBeat published a transcript of an interview conducted with

 9   Huang shortly after NVIDIA’s November 9, 2017 earnings call. During the interview, VentureBeat

10   questioned whether “cryptocurrency is driving all of your success.” Defendant Huang responded by stating

11   that, for NVIDIA, cryptocurrency was “small but not zero . . . . It’s large for somebody else. But it is

12   small for us.” Huang also stated that cryptocurrency-related revenue was “[m]aybe $70 million”—the

13   amount NVIDIA had attributed to the Crypto SKU the day before.

14           197.   It was materially false and misleading for Huang to state that cryptocurrency was “small”

15   and “small for us” during third-quarter fiscal 2018 when, in fact, cryptocurrency-related revenues totaled

16   $299 million for that quarter—which alone was more revenue than three of NVIDIA’s four non-Gaming

17   segments. ¶ 154.

18           198.   Huang’s statement was also materially misleading because it omitted that (1) sales to

19   cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues at the time

20   (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from miners, showing

21   that approximately 60% of GeForce cards were, in actuality, being used for crypto-mining (¶ 106); and

22   (3) sales to miners accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest market, China.

23   ¶ 86.

24           199.   It was also materially false and misleading for Huang to state that cryptocurrency-related

25   revenue was “[m]aybe $70 million”—the amount NVIDIA booked through the Crypto SKU—when, in

26   fact, NVIDIA’s cryptocurrency-related revenue was $299 million during the quarter, and 77% of

27   NVIDIA’s total cryptocurrency-related revenues (i.e., $229 million) were from sales to cryptocurrency

28   miners through the Gaming segment, not the OEM segment’s Crypto SKU. ¶ 154.

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 1          H.     November 21, 2017 Form 10-Q
 2          200.   On November 21, 2017, NVIDIA filed with the SEC its Form 10-Q for third-quarter fiscal
 3   2018, which was signed by Defendants Huang and Kress. In the Management’s Discussion and Analysis
 4   section, NVIDIA stated that the 31% increase of $520 million in GPU business revenue year-over-year

 5   “was due primarily to increased revenue from sales of GeForce GPU products for gaming.”
 6          201.   It was materially false and misleading for NVIDIA, Huang, and Kress to state the

 7   $520 million year-over-year increase in GPU revenues “was due primarily to increased revenue from sales

 8   of GeForce GPU products for gaming” when $648 million of NVIDIA’s GPU revenues in the second
 9   quarter and third quarter of fiscal 2018—representing well over 100% of the Company’s entire

10   $520 million year-over-year increase in GPU revenues—was due to sales of GPUs for cryptocurrency
11   mining, not gaming. ¶ 154.
12          202.   Huang, Kress, and NVIDIA’s statement was also materially misleading because it omitted
13   that (1) sales to cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues
14   at the time (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from
15   miners, showing that approximately 60% of GeForce cards were, in actuality, being used for crypto-mining
16   (¶ 106); and (3) sales to miners accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest
17   market, China. ¶ 86.
18          I.     November 29, 2017 Credit Suisse Technology, Media and Telecom Conference
19          203.   On November 29, 2017, Defendant Kress represented NVIDIA at the Credit Suisse
20   Technology, Media and Telecom Conference. When Credit Suisse analyst John William Pitzer asked about

21   the impact of cryptocurrency-related demand on NVIDIA’s gaming revenues, Kress stated that “there

22   probably is some residual amount or some small amount” but that “the majority does reside in terms of our

23   overall crypto card [Crypto SKU], which is the size of about $150 million in Q2.”

24          204.   It was materially false and misleading for Kress to state that there was only “some residual

25   amount or some small amount” of cryptocurrency-related demand impact to Gaming revenues when, in

26   fact, Gaming-segment revenues from sales to crypto-miners (and not gamers) were $229 million for the

27   quarter. ¶ 154.

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 1           205.   It was also materially false and misleading for Kress to state that “the majority” of

 2   cryptocurrency-related demand was being satisfied by NVIDIA’s “crypto card,” when, in fact: during

 3   second-quarter fiscal 2018, 57% of NVIDIA’s cryptocurrency-related sales ($199 million) were made

 4   through the Company’s Gaming segment and only 43% ($150 million) were made through its Crypto SKU;

 5   and during third-quarter fiscal 2018, 77% of NVIDIA’s cryptocurrency-related sales ($229 million) were

 6   made through the Gaming segment and only 23% ($70 million) through its Crypto SKU. ¶ 154.

 7           206.   Further, Kress’s statement was materially misleading because it omitted that (1) sales to

 8   cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues at the time

 9   (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from miners, showing

10   that approximately 60% of GeForce cards were, in actuality, being used for crypto-mining (¶ 106); and

11   (3) sales to miners accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest market, China.

12   ¶ 86.

13           J.     February 9, 2018 Barron’s Article
14           207.   On February 9, 2018, financial news magazine Barron’s published an article detailing an

15   interview Defendant Huang gave to a reporter following the February 8, 2018 NVIDIA earnings call. In

16   the article, the author explained that “[w]hen I asked Huang if he wanted to point out anything in particular

17   about the report and outlook, Huang began, ‘Clearly there’s been a lot of talk about crypto.’” Huang then

18   stated that cryptocurrency represented a “small, overall” “part of our business this past quarter.”

19           208.   It was materially false and misleading for Huang to state that cryptocurrency was only a

20   “small” “part of our business this past quarter” when, in fact, cryptocurrency-related revenues in fourth

21   quarter fiscal 2018 comprised $541 million—nearly 20% of NVIDIA’s entire fourth quarter fiscal 2018

22   revenues across all business segments. ¶ 154.

23           209.   Huang’s statement was also materially misleading because it omitted that (1) the

24   Company’s GeForce Experience data reflected the revenues derived from miners, showing that

25   approximately 60% of GeForce cards were, in actuality, being used for crypto-mining (¶ 106); and (2) sales

26   to miners accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest market, China. ¶ 86.

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 1          K.      March 26, 2018 TechCrunch Article
 2          210.    On March 26, 2018, the industry publication TechCrunch published an interview with
 3   Defendant Huang. In the interview, in response to questions about NVIDIA’s documented supply
 4   problems, Defendant Huang stated that “he still attribute[d] crypto’s demands as a small percentage of

 5   Nvidia’s overall business.”

 6          211.    It was materially false and misleading for Huang to state that “crypto’s demands [were] a

 7   small percentage of [NVIDIA]’s overall business” when, in fact, cryptocurrency-related revenues in fourth-

 8   quarter fiscal 2018 totaled $541 million—i.e., nearly 20% of NVIDIA’s entire fourth-quarter fiscal 2018

 9   revenues. ¶ 154.

10          212.    Huang’s statement was also materially misleading because it omitted that (1) the
11   Company’s GeForce Experience data reflected the revenues derived from miners, showing that
12   approximately 60% of GeForce cards were, in actuality, being used for crypto-mining (¶ 106); and (2) sales
13   to miners accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest market, China. ¶ 86.
14          L.      March 29, 2018 Mad Money Appearance
15          213.    On March 29, 2018, Defendant Huang appeared on the CNBC show Mad Money. During
16   Huang’s appearance, Jim Cramer, the host of Mad Money, asked Huang about a Wells Fargo analyst report
17   stating that NVIDIA’s “cryptocurrency risks are growing” and a JPMorgan report suggesting that “it’s not
18   possible to maintain the cryptocurrency $250 million run rate and so therefore we must be concerned about
19   the stock of NVIDIA.” In response, Huang stated that the “core growth drivers” for the Company’s revenue
20   results were other areas of the business—Gaming, Professional Visualization, Datacenter, and

21   Automotive—and that “cryptocurrency just gave it that extra bit of juice.” When Cramer asked Defendant

22   Huang to confirm that “if people think [cryptocurrency] is that important, they’re gonna miss the bigger

23   picture,” Huang responded, “Absolutely,” and again contrasted NVIDIA’s cryptocurrency-related business

24   to the Company’s “core” businesses including Gaming.

25          214.    Defendant Huang’s statements identified in paragraph 213 were materially false and

26   misleading. It was materially false and misleading for Huang to state that crypto-currency mining revenues

27   were “[a]bsolutely” not “important” to NVIDIA and that other areas of NVIDIA’s business were the

28   Company’s “core growth drivers” when, in fact, cryptocurrency-related revenues in fourth quarter fiscal

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 1   2018 comprised $541 million—i.e., nearly 20% of NVIDIA’s entire fourth-quarter fiscal 2018 revenues

 2   across all business segments. ¶ 154.

 3           215.   Huang’s statements were also materially misleading because they omitted that (1) sales to

 4   cryptocurrency miners were one of the greatest drivers of the Company’s Gaming revenues at the time

 5   (¶ 154); (2) the Company’s GeForce Experience data reflected the revenues derived from miners, showing

 6   that approximately 60% of GeForce cards were, in actuality, being used for crypto-mining (¶ 106); and

 7   (3) sales to miners accounted for 60% to 70% of GeForce revenues in NVIDIA’s largest market, China.

 8   ¶ 86.

 9           M.     August 16, 2018 Earnings Call
10           216.   On August 16, 2018, Defendants Huang and Kress hosted NVIDIA’s second-quarter fiscal

11   2019 earnings call, during which Defendants disclosed that cryptocurrency-related demand had dried up.

12   NVIDIA’s Form 8-K filed the same day disclosed that the Company had seen its inventory balloon by 37%

13   the previous quarter, and several analysts asked questions about the glut during the call. Matthew Ramsay

14   of Cowen and Company asked Huang and Kress if they “could talk a little bit about the gaming channel in

15   terms of inventory, how things are looking in the channel as you guys see it.” Attempting to assuage

16   concerns about the glut of inventory that had resulted from the disappearance of crypto-mining demand,

17   Huang stated: “We are masters at managing our channel, and we understand the channel very well. . . .

18   [W]e have plenty of opportunities as the—as we go back to school and the gaming cycle to manage the

19   inventory.”

20           217.   Defendant Huang’s statements identified in paragraph 216 were materially false and

21   misleading. It was materially false and misleading for Huang to state that Defendants were “masters at

22   managing [their] channel,” “underst[oo]d the channel very well,” and had “plenty of opportunities . . .

23   [including] the gaming cycle to manage the inventory” when, in fact: (i) throughout the Class Period, the

24   overwhelming majority of NVIDIA’s cryptocurrency-related revenues—$1.13 billion, or more than

25   65%—was made through the Gaming segment, not through the OEM segment’s Crypto SKU, as

26   Defendants repeatedly represented (¶ 154); and (ii) the Company had a massive glut of unsold GeForce

27   GPUs that NVIDIA had amassed to satisfy the anticipated demand, which no longer existed, from crypto-

28   miners. ¶¶ 114, 158, 160–62.

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 1   VII.   SUMMARY ALLEGATIONS OF SCIENTER
 2          218.    A host of facts support a strong inference that NVIDIA and the Individual Defendants knew
 3   or were deliberately reckless in not knowing the true facts concerning the impact of cryptocurrency-related
 4   demand on NVIDIA’s financial performance when making the misleading statements and omitting the

 5   facts discussed above.

 6          219.    First, Defendants were directly informed about and had access to copious sales and

 7   technical usage data showing the dramatic surge in cryptocurrency-related sales during the Class Period.

 8   This data included: (a) crypto-specific GeForce sales data in a centralized database that Huang and other

 9   top executives had access to; (b) quarterly meetings at which this data was presented to Huang and others;

10   (c) weekly “Top 5” emails sent to Huang at his request reporting on miners’ demand for GeForce GPUs;
11   (d) GeForce Experience usage data, sent in monthly reports to Huang and received by Kress, which
12   confirmed that well more than a majority of GeForce sales during the Class Period were to miners (not
13   gamers); (e) sales reports detailing crypto-specific GeForce sales sent to Fisher and the GeForce executive
14   team every week; and (f) an internal study commissioned by Fisher measuring GeForce sales to crypto-
15   miners on a monthly basis.
16          220.    Centralized Sales Database. FE 1 reported that, beginning in late 2016 or early 2017,
17   NVIDIA’s China sales team began meticulously tracking GeForce sales to crypto-miners, which was
18   inputted into the Company’s centralized sales database. ¶¶ 78–81, 83. That NVIDIA was able to quantify
19   crypto-specific sales is proven by an internal Company document that provided monthly sales of GeForce
20   sales to miners in China during the spring and summer of 2017. ¶¶ 120–21. FE 5 confirmed that a similar

21   process of obtaining sales data allowing NVIDIA to determine how much of its GeForce sales were crypto-

22   related was used in the Company’s European market, explaining that NVIDIA gave its partners marketing

23   funds in exchange for detailed order data. ¶ 82. FE 1 reported that the sales data showed that 60% to 70%
24   of GeForce sales in China—the source of more than half of NVIDIA’s revenues—were going to crypto-

25   miners throughout 2017. ¶ 86. An internal presentation containing GeForce sales data from the China

26   market showed that NVIDIA sold 800,000 GeForce GTX GPUs during the Company’s 2Q18 reporting

27   period (amounting to at least $120 million in that one market alone).

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 1          221.    Multiple former employees confirmed that Defendants had access to this data. For example,

 2   FE 1 said that Huang and the rest of the U.S. executive team all had access to the centralized sales database

 3   which contained crypto-specific GeForce sales data, and that the executive team was in fact “obsessed”

 4   with the sales data. ¶¶ 84, 86. FE 2 also stated that Huang personally accessed the centralized sales

 5   database, recounting a Company-produced video showing Huang reviewing the centralized sales data base

 6   and corresponding with an employee about sales data that the employee had just entered. ¶ 85.

 7          222.    Quarterly Senior Management Meetings. FE 1 described how sales data quantifying
 8   GeForce sales to miners was presented directly to Huang, Fisher, Milner, Zhang, and other top executives

 9   at the Company’s quarterly meetings in 2017. ¶¶ 87–88. At these meetings, Huang and his executive

10   leadership discussed ways to capitalize on this trend, including a prospective deal in 2017 involving

11   Genesis, one of the world’s largest mining farms. ¶ 88. FE 2 confirmed that Huang reviewed sales data

12   at quarterly meetings with business unit, sales, marketing, and product management leaders, recalling that

13   Huang focused especially heavily on GeForce sales data because GeForce revenues were the largest of any

14   group at NVIDIA. ¶ 92. FE 2 stated that during 2017, Huang repeatedly acknowledged that miners were

15   purchasing GeForce GPUs instead of more powerful—but more expensive—professional cards because

16   miners were preoccupied with “cranking out algorithms at the lowest cost.” ¶ 93. FE 5 corroborated these

17   accounts, stating that Huang received crypto-specific sales and forecasts of GPU demand from crypto-

18   miners compiled by NVIDIA’s regional leaders and sent to Huang directly on a quarterly basis. ¶ 90.

19   Huang received presentations from NVIDIA managers detailing GeForce sales data in multiple regions

20   around the world. ¶¶ 87, 91, 92.

21          223.    Weekly “Top 5” Reports. Throughout the Class Period, Huang received reports from sales
22   and marketing managers from NVIDIA’s various markets detailing the surge in crypto-related GeForce

23   sales through the “Top 5” internal reporting system. ¶¶ 94–98. These emails, sent to Huang and other top

24   executives on a weekly basis throughout the Class Period, explicitly discussed crypto-related sales, bulk

25   ordering, and assessments of crypto-related demand. ¶¶ 94, 97. The Top 5 reporting system had been

26   Huang’s idea, and Huang personally reviewed these emails on Sundays, often responding directly to the

27   senders seeking additional information. ¶¶ 94–96. During the second half of 2017 and the first half of

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 1   2018, virtually every Top 5 report addressed the explosion of crypto-related demand for GeForce GPUs.

 2   ¶¶ 90, 97.

 3          224.   GeForce Experience Data.        Defendants were also informed of the true amount of
 4   cryptocurrency mining usage through data generated by NVIDIA’s GeForce Experience software.

 5   See ¶¶ 99–108. As discussed above, GeForce Experience is telemetry software that is bundled with the

 6   drivers for GeForce GTX graphics cards. ¶ 100. NVIDIA has publicly claimed that more than 90% of its

 7   users use GeForce Experience, and its own website explained that the software collects a rich set of

 8   information concerning a user’s hardware configuration, operating system, installed games, game settings,

 9   game usage, and game performance. ¶¶ 101–02. Kress publicly confirmed that NVIDIA could determine

10   how its GeForce GPUs were being used through the GeForce Experience software, stating shortly before

11   the Class Period began, “[W]e have an ability to actually look to say, ‘Yes, the intended use of those
12   overall gaming platforms are actually being used for gaming.’” ¶ 108; see also ¶ 107. Former NVIDIA
13   employees have corroborated Kress’s remarks, reporting that the data collected through GeForce

14   Experience allowed NVIDIA to track cryptocurrency-mining usage. For example, FE 1 stated, “We

15   actually know this data,” saying that “NVIDIA sure lied to everyone” in representing that they could not

16   determine whether GeForce GPUs were being used for mining. ¶ 104. FE 5 confirmed that GeForce

17   Experience data informed NVIDIA how many of its GeForce GPUs were being used for mining and that

18   the usage data, which was stored in a central database, was also reported directly to Huang on a monthly
19   basis. ¶¶ 105–06. Huang personally reviewed this usage data. ¶ 106. FE 5 stated that the GeForce

20   Experience data showed that more than 60% of GeForce GPU sales during the Class Period went to miners.
21   Id.

22          225.   Reports from NVIDIA’s Primary Market.             Fisher and other U.S. executive team
23   members routinely received detailed reports and presentations quantifying crypto-related sales of GeForce
24   GPUs. As discussed above, China accounted for 40% to 50% of worldwide GeForce sales, meaning that
25   cryptocurrency sales in China amounted to approximately 25% to 35% of NVIDIA’s revenues—before
26   considering any other regions whatsoever. See ¶ 86. FE 1 stated that the China team sent weekly GeForce
27   sales reports to NVIDIA executives in the United States throughout 2017, including Fisher (who reported
28   directly to Huang), Milner, and Senior Director for China David Zhang. ¶¶ 110–12. The reports provided

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 1   weekly updates on GeForce sales numbers, sales drivers, customers, inventory issuers, competitors, and

 2   included a separate section expressly quantifying GeForce sales to crypto-miners from the week before.

 3   ¶ 110. The U.S. executives also received spreadsheets detailing these sales on a quarterly basis. ¶ 113.

 4   These reports prompted Milner (Fisher’s direct report) to begin corresponding directly with FE 1 by email

 5   about crypto-related GeForce sales in China. ¶¶ 117–18.

 6          226.   FE 1 recounted giving a presentation in March 2017 to other high-level NVIDIA

 7   executives—including Fisher, Milner, and Zhang—that emphasized the explosion of crypto-related sales

 8   of GeForce GPUs in China and reported that sales to crypto-miners had caused GeForce sales to almost

 9   double in a short period. ¶ 115. At this meeting, Fisher called crypto-related demand “dangerous.” Id.
10   Similarly, FE 1 reported meeting with NVIDIA executives in June 2017 and both discussing the issue of

11   cryptocurrency-related GeForce sales and underscoring the impact of crypto-mining on GeForce revenues.

12   ¶ 116. FE 1 created a PowerPoint presentation in September 2017 reporting that 1.5 million GeForce GTX

13   GPU units had been sold to miners during the first nine months of the year alone. ¶¶ 119–20. This study

14   had been requested by the U.S. GeForce management team, including Fisher. ¶ 119. The presentation

15   noted that NVIDIA was capturing more than 70% of crypto-related GPU sales in China, a percentage in

16   line with third-party estimates of NVIDIA’s global share of crypto-related sales. ¶ 121. The presentation

17   further showed that NVIDIA had reaped hundreds of millions of dollars in revenues from cryptocurrency

18   miners in China and expected to do so in the future. ¶¶ 120–22.

19          227.   Meanwhile, the China team’s 2018 forecasts, based on existing sales data and assembled

20   during the second half of 2017, anticipated a 60% rise in GeForce sales based largely on expected demand

21   from crypto-miners. ¶ 114. These estimates were sent to Fisher, Milner, and Zhang, who discussed them

22   with FE 1 and others in calls and by email. Id. NVIDIA increased its GeForce inventory to meet the

23   anticipated growth in cryptocurrency-related demand in 2018. Id.

24          228.   Huang and Kress had ready access to Fisher, whose office was no more than 100 yards from

25   Huang’s, who met with Huang on a weekly basis, and who, as described above, received detailed crypto-

26   specific GeForce sales data on a weekly and quarterly basis, traveled to China to review the effect of

27   crypto-related demand on GeForce sales, and commissioned a study that quantified sales to miners on a

28   monthly basis in China and addressed how NVIDIA could exploit the trend. ¶¶ 32, 110–13, 115, 119–26.

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 1   It is absurd to think that Fisher did not relay this data to Huang or otherwise discuss the effect of crypto-

 2   related demand—which he deemed “dangerous”—on the Gaming segment, which was NVIDIA’s most

 3   important business unit and the source of more than half of the Company’s revenues.

 4          229.     GeForce Shortages Due to Crypto-Mining Demand. Acute shortages of GeForce GPUs
 5   around the world that the Company’s sales and marketing forces explicitly attributed to demand from

 6   miners were also reported back to NVIDIA’s headquarters, including to Huang himself. FE 1 explained

 7   that, beginning in 2016 and in 2017, the Company had trouble meeting GeForce demand in China because

 8   of the burgeoning mining sales, that mining firms placed huge orders for GeForce GPUs, often in quantities

 9   of 50,000 or 100,000 units per order, and that all of FE 1’s superiors in China knew of these bulk GeForce

10   orders by miners. ¶ 127. FE 2 similarly reported regular contacts with miner groups looking to make bulk

11   purchases of GeForce GPUs in the United States. ¶ 129. When NVIDIA Product Managers tried to upsell

12   the miners a professional product, the miners would flatly refuse. Id. FE 2 reported that FE 2 had

13   conversations with Product Managers about these incidents, which provided the Company with ample

14   evidence that its Gaming GPUs were being bought up by miners en masse—and not gamers. Id. Miners’

15   attempts to make bulk purchases were reported up the executive chain through multiple business units, and

16   Huang acknowledged the trend at multiple internal meetings at NVIDIA’s headquarters. ¶ 130. FE 4 and

17   FE 5 recalled that the same phenomenon was evident in Russia and India, respectively, where skyrocketing

18   demand from miners produced widespread shortages in GeForce GPUs. ¶¶ 131–32. FE 5 stated that these

19   shortages, along with discussion of the broader trend of exploding cryptocurrency-related demand for

20   NVIDIA’s GPUs, were conveyed to Huang and other executives directly by way of the Top 5 internal

21   reporting system that Huang had conceived. ¶¶ 97–98, 133.

22          230.     Second, Defendants knew that investors were acutely focused on how much of NVIDIA’s

23   revenues were based on cryptocurrency-mining. Analysts asked specific questions about the subject during

24   each of the Company’s earnings calls during the Class Period, and Defendants were called upon to speak

25   about it at numerous conferences and in several interviews. See, e.g., ¶¶ 179, 183, 190, 193, 196, 203, 207,

26   210, 213. In addition, shareholders specifically asked Huang several questions about cryptocurrency-

27   related effects on NVIDIA finances, including at the Company’s May 2018 Annual Meeting of

28   Stockholders.    Moreover, in an interview published February 11, 2018, in VentureBeat, when the

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 1   interviewer asked Huang “how [he felt] about all the cryptocurrency questions” he had been fielding from

 2   analysts and investors, Huang replied: “You can’t not care about cryptocurrency. It’s a global and social

 3   and economic phenomenon.”

 4          231.    Indeed, many of the misstatements were made in direct response to pointed analyst

 5   questions about the effects of cryptocurrency-related sales. For example, during NVIDIA’s second-quarter

 6   fiscal 2018 earnings call on August 10, 2017, when an analyst asked whether cryptocurrency drove

 7   NVIDIA’s second-quarter earnings beat, Huang stated that sales of the Company’s cryptocurrency SKU

 8   accounted for only $150 million of second-quarter sales, and that NVIDIA served “the vast . . . majority

 9   of the cryptocurrency demand” using the Crypto SKU.            ¶ 179.   Similarly, during the Citi Global

10   Technology Conference on September 6, 2017, Citigroup analyst Atif Malik asked Kress, “[W]hat steps

11   has NVIDIA taken to avoid cannibalization of core gaming market from these cards?” Kress stated in

12   response, “we covered most of cryptocurrency with our cryptocards [Crypto SKU] that we had

13   developed[.]” ¶ 190. Knowing that analysts and investors were acutely focused on the question of

14   cryptocurrency’s impact on NVIDIA’s revenues from having fielded questions on the subject continuously

15   throughout the Class Period, it was deliberately reckless, at minimum, for Huang and Kress to give answers

16   to such questions without reviewing the relevant data.

17          232.    Third, Defendants’ statements about the amount of GPUs that NVIDIA was selling to

18   crypto-miners indicated that Defendants had in fact reviewed the Company’s internal crypto-specific sales

19   data. Specifically, Huang’s statements that NVIDIA served “the vast . . . majority of the cryptocurrency

20   demand” through the Crypto SKU (¶ 179) and that 2Q18 crypto-related sales totaled “maybe $150 million

21   or so” (¶ 183), Kress’s statements that NVIDIA “covered most of cryptocurrency with our cryptocards”

22   (¶ 190), and Huang’s and Kress’s statements that 3Q18 crypto-related sales were “about” or “maybe”

23   $70 million” of revenue (¶¶ 193, 196) constituted quantitative representations of NVIDIA’s GPU sales to

24   miners. These statements could not have been made truthfully and accurately had Defendants not reviewed

25   NVIDIA’s crypto-specific sales data. Hence, before making these quantitative assessments of NVIDIA’s

26   crypto-related sales, Huang and Kress either (i) had reviewed NVIDIA’s internal crypto-related sales data
27   to inform their statements, or (ii) were deliberately reckless in issuing these statements without having
28   reviewed that data, as their statements thus lacked any reasonable basis in fact.

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 1           233.   Fourth, Defendants repeatedly assured investors that they personally paid close attention to

 2   the cryptocurrency market’s impact on NVIDIA, who was buying NVIDIA’s GPUs, and the Company’s

 3   revenue drivers. For example, in response to an analyst question asking how Huang planned to manage

 4   the volatility of the cryptocurrency market, Huang told investors during NVIDIA’s August 10, 2017

 5   earnings call that “our strategy is to stay very, very close to the market. We understand its dynamics really

 6   well . . . . We stay very close to the market. We know its every single move and we know its dynamics.”
 7   ¶ 66.

 8           234.   Defendants repeatedly assured investors that they closely monitored (and had visibility into)

 9   the ultimate purchasers of their products. As far back as 2007, Huang told securities analysts that “[w]e

10   monitor the inventory in the channel continuously, not only from the guys that buy from us, but where the

11   parts go after that—who they sell to, and who they sell to.” ¶ 43. In 2015, Huang again confirmed
12   NVIDIA’s close monitoring of sales out of NVIDIA’s distribution channel to end consumers, telling

13   investors during an earnings call, “we monitor sellout in the channel literally every day. And so that’s
14   how we manage inventory. We don’t manage inventory on selling; we manage inventory on sellout.” Id.

15   And Huang repeated these representations during the Class Period: during NVIDIA’s August 16, 2018

16   earnings call, Huang emphasized that “[w]e are masters at managing our channel, and we understand the

17   channel very well.” ¶ 158. FE 5 confirmed that NVIDIA monitored sell-out from the distribution channel

18   on a monthly and quarterly basis, that NVIDIA’s Head of Sales received that data, and that the data was

19   discussed at Quarterly Business Reviews during the Class Period. ¶¶ 82, 89. Defendants’ personal

20   attention to NVIDIA’s sales and repeated assurances that they were knowledgeable about these subjects

21   demonstrate their knowledge or, at minimum, deliberate recklessness.

22           235.   Fifth, Defendants not only knew that GeForce revenues were largely being driven by sales

23   to crypto-miners during the Class Period, they actively sought to exploit that trend to increase GeForce

24   revenues even more, further supporting a strong inference of scienter. By the beginning of 2017, GeForce

25   executives had observed the spiking GeForce sales to crypto-miners and directed managers to “support

26   GeForce” by tracking and targeting sales to miners.         ¶ 109.   Fisher commissioned a study of the

27   cryptocurrency market in China, which included a table identifying top mining operations by name, contact

28   information, and projected GPU demand, signaling NVIDIA to contact the mining firms to sell to them

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 1   directly. ¶¶ 119–26. Meanwhile, Huang discussed business opportunities involving direct sales to large

 2   miners at quarterly meetings (including Genesis Mining, a large European mining firm that was included

 3   in the list of targets identified in Fisher’s study). ¶¶ 88, 126. NVIDIA then accommodated large crypto-

 4   mining firms in its January 1, 2018 revision of the GeForce EULA. See ¶¶ 134–38. By prohibiting

 5   datacenters from using GeForce GPUs unless they were used for crypto-mining, Defendants demonstrated
 6   their knowledge that demand from crypto-miners was propping up NVIDIA’s Gaming sales and their intent

 7   to facilitate large mining operations’ continued purchases of GeForce GPUs.

 8          236.   Sixth, multiple former employees confirm that Huang was intimately involved with

 9   NVIDIA’s daily operations—particularly its GeForce business. FE 2, who met with Huang monthly, stated

10   that Huang was “the most intimately involved CEO he had ever experienced” and Huang always knew

11   everything that was going on at the Company. ¶ 85. FE 2 likened Huang’s review of sales data at quarterly

12   leadership meetings at NVIDIA’s headquarters to “proctology exams.” ¶ 92. As FE 2 recalled, “Jensen is

13   a micromanager. He micromanages everything—very little gets done without him being involved.” Id.

14   FE 5 echoed these assessments, recalling from a presentation FE 5 gave to Huang in 2017 that Huang was

15   “very hands-on” and had a prodigious memory. ¶ 91, 95. FE 5 also explained that the detailed weekly

16   “Top 5” emails were Huang’s idea and that Huang directly corresponded with the senders, typically posing

17   follow-up questions within 48 hours of receipt. ¶¶ 94–95. FE 5 further described how the quarterly

18   regional business review meetings were designed to provide Huang personally with a comprehensive view

19   of NVIDIA’s sales performance in each of the Company’s operating regions and that Huang would receive

20   presentations of GeForce sales data during regular trips to the Company’s different regions. ¶¶ 89–91.

21          237.   Seventh, that Defendants’ misstatements and omissions concerned NVIDIA’s primary

22   business of selling GPUs further strengthens the scienter inference.       Indeed, statements made by

23   Defendants during the Class Period demonstrate that GPU sales constituted the core of NVIDIA’s

24   business. As Defendant Kress explained at the Credit Suisse Technology, Media and Telecom Conference

25   on November 29, 2017: “We began our business focused on still what we’re focused on today. We focus

26   on the GPU.”     Similarly, at the Morgan Stanley Technology, Media & Telecom Conference on

27   February 26, 2018, Kress stated: “The company is really based on one single product in terms of a GPU.”

28   Meanwhile, NVIDIA’s GPU sales represented approximately 85% of the Company’s revenues, and during

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 1   the Company’s 2018 Annual Meeting of Stockholders, Huang explained that “[o]ur GPUs have been the

 2   segment with the highest revenue.”

 3          238.    Eighth, the enormity of NVIDIA’s undisclosed cryptocurrency-related revenues further

 4   supports the inference that Defendants knew, or were deliberately reckless in not knowing, of its true

 5   impact. NVIDIA earned at least $1.7 billion in cryptocurrency mining revenues during the Class Period.

 6   Cryptocurrency-related revenues thus accounted for approximately 83% of NVIDIA’s total GPU business

 7   growth from fiscal 2018 to fiscal 2019. ¶ 154. At the same time, Defendants made statements indicating

 8   that NVIDIA’s crypto-related revenues were limited to the Crypto SKU.

 9          239.    Ninth, as analysts and the financial press recognized at the time, NVIDIA continued to

10   conceal and misrepresent the true impact of cryptocurrency mining on its financial results even after it was

11   forced to reveal on August 16, 2018, that cryptocurrency mining was a major driver of the Company’s

12   revenues. For example, the financial press noted that “NVIDIA lied about its cryptocurrency earnings to

13   avoid [a] stock crash,” explaining that “the steep falls [in NVIDIA’s stock price, including at the end of

14   the Class Period] [we]re a strong incentive for Nvidia to mask large fluctuations in revenue.” ¶ 141.

15          240.    The foregoing facts, particularly when considered collectively, as they must be, support a

16   strong inference of Defendants’ scienter.

17   VIII. PRESUMPTION OF RELIANCE
18          241.    At all relevant times, the market for NVIDIA’s common stock was efficient for the

19   following reasons, among others:

20          1.      NVIDIA’s stock met the requirements for listing, and was listed and actively traded
                    on the NASDAQ Stock Market, a highly efficient and automated market;
21
            2.      As a regulated issuer, NVIDIA filed periodic reports with the SEC and the
22                  NASDAQ Stock Market;
23
            3.      NVIDIA regularly communicated with public investors via established market
24                  communication mechanisms, including through regular dissemination of press
                    releases on the national circuits of major newswire services and through other wide-
25                  ranging public disclosures, such as communications with the financial press and
                    other similar reporting services; and
26
            4.      NVIDIA was followed by numerous securities analysts employed by major
27
                    brokerage firms who wrote reports which were distributed to those brokerage firms’
28                  sales force and certain customers. Each of these reports was publicly available and
                    entered the public market place.
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 1          242.    As a result of the foregoing, the market for NVIDIA’s common stock reasonably promptly

 2   digested current information regarding NVIDIA from all publicly available sources and reflected such

 3   information in the price of NVIDIA’s common stock. All purchasers of NVIDIA common stock during

 4   the Class Period suffered similar injury through their purchase of NVIDIA common stock at artificially

 5   inflated prices, and a presumption of reliance applies.

 6          243.    A class-wide presumption of reliance is also appropriate in this action under the United

 7   States Supreme Court holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

 8   because the claims asserted herein against Defendants are predicated upon omissions of material fact for

 9   which there is a duty to disclose.

10   IX.    INAPPLICABILITY OF THE STATUTORY SAFE HARBOR
11          244.    The statutory safe harbor or bespeaks caution doctrine applicable to forward-looking

12   statements under certain circumstances does not apply to any of the false and misleading statements

13   pleaded in this Complaint. None of the statements complained of herein was a forward-looking statement.

14   Rather, they were historical statements or statements of purportedly current facts and conditions at the time

15   the statements were made, including statements about NVIDIA’s GPU sales, associated revenues, and

16   inventory levels, among other topics.

17          245.    To the extent that any of the false and misleading statements alleged herein can be construed

18   as forward-looking, those statements were not accompanied by meaningful cautionary language identifying

19   important facts that could cause actual results to differ materially from those in the statements. As set forth

20   above in detail, then-existing facts contradicted Defendants’ statements regarding NVIDIA’s GPU sales,

21   associated revenues, and inventory levels, among others. Given the then-existing facts contradicting

22   Defendants’ statements, any generalized risk disclosures made by NVIDIA were not sufficient to insulate

23   Defendants from liability for their materially false and misleading statements.

24          246.    To the extent that the statutory safe harbor does apply to any forward-looking statements

25   pleaded herein, Defendants are liable for those false forward-looking statements because at the time each

26   of those statements was made, the particular speaker knew that the particular forward-looking statement

27   was false, and the false forward-looking statement was authorized and approved by an executive officer of

28   NVIDIA who knew that the statement was false when made.

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 1   X.        CLASS ACTION ALLEGATIONS
 2             247.   Lead Plaintiffs bring this action as a class action pursuant to Fed. R. Civ. P. 23(a) and
 3   23(b)(3) on behalf of a Class consisting of all those who purchased or otherwise acquired the common
 4   stock of NVIDIA between May 10, 2017, and November 14, 2018, inclusive, and who were damaged

 5   thereby. Excluded from the Class are Defendants, the officers and directors of NVIDIA at all relevant

 6   times, members of their immediate families and their legal representatives, heirs, agents, affiliates,

 7   successors or assigns, Defendants’ liability insurance carriers, and any affiliates or subsidiaries thereof,

 8   and any entity in which Defendants or their immediate families have or had a controlling interest.

 9             248.   The members of the Class are so numerous that joinder of all members is impracticable.

10   Throughout the Class Period, NVIDIA shares were actively traded on the NASDAQ Stock Market. As of
11   November 9, 2018, there were 610 million shares of NVIDIA stock outstanding. While the exact number
12   of Class members is unknown to Lead Plaintiffs at this time and can only be ascertained through
13   appropriate discovery, Lead Plaintiffs believe that there are at least hundreds-of-thousands of members of
14   the proposed Class. Class members who purchased NVIDIA common stock may be identified from records
15   maintained by NVIDIA or its transfer agent(s), and may be notified of this class action using a form of
16   notice similar to that customarily used in securities class actions.
17             249.   Lead Plaintiffs’ claims are typical of Class members’ claims, as all members of the Class
18   were similarly affected by Defendants’ wrongful conduct in violation of federal laws as complained of
19   herein.
20             250.   Lead Plaintiffs will fairly and adequately protect Class members’ interests and have retained

21   competent counsel experienced in class actions and securities litigation.

22             251.   Common questions of law and fact exist as to all Class members and predominate over any

23   questions solely affecting individual Class members. Among the questions of fact and law common to the

24   Class are:

25             a.     whether the federal securities laws were violated by Defendants’ acts and omissions as
                      alleged herein;
26
               b.     whether the Defendants made statements to the investing public during the Class Period that
27                    were false, misleading or omitted material facts;
28             c.     whether Defendants acted with scienter; and

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 1           d.      the proper way to measure damages.

 2           252.    A class action is superior to all other available methods for the fair and efficient adjudication

 3   of this action because joinder of all Class members is impracticable. Additionally, the damage suffered by

 4   some individual Class members may be relatively small so that the burden and expense of individual

 5   litigation make it impossible for such members to individually redress the wrong done to them. There will

 6   be no difficulty in the management of this action as a class action.

 7   XI.     CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

 8                                                     COUNT I

 9                               For Violations of Section 10(b) of the Exchange Act
                                   and SEC Rule 10b-5 Promulgated Thereunder
10                                            (Against All Defendants)
11           253.    Lead Plaintiffs repeat, incorporate, and reallege each and every allegation set forth above
12   as if fully set forth herein.
13           254.    During the Class Period, Defendants carried out a plan, scheme, and course of conduct
14   which was intended to and, throughout the Class Period, did: (i) deceive the investing public, including
15   Lead Plaintiffs and other Class members, as alleged herein; and (ii) cause economic harm to Lead Plaintiffs
16   and other members of the Class.
17           255.    Defendants: (i) employed devices, schemes, and artifices to defraud; (ii) made untrue

18   statements of material fact and/or omitted to state material facts necessary to make the statements not

19   misleading; and (iii) engaged in acts, practices, and a course of business which operated as a fraud and

20   deceit upon the purchasers of the Company’s stock in violation of Section 10(b) of the Exchange Act and

21   Rule 10b-5 promulgated thereunder.

22           256.    Defendants, individually and in concert, directly and indirectly, by the use, means or

23   instrumentalities of interstate commerce and/or of the mails, engaged and participated in a continuous

24   course of conduct to conceal adverse material information about the Company’s financial well-being,

25   operations, and prospects.

26           257.    During the Class Period, Defendants made the false statements specified above, which they

27   knew or recklessly disregarded to be false or misleading in that they contained misrepresentations and

28

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 1   failed to disclose material facts necessary in order to make the statements made, in light of the

 2   circumstances under which they were made, not misleading.

 3           258.    Defendants had actual knowledge of the misrepresentations and omissions of material facts

 4   set forth herein, or recklessly disregarded the true facts that were available to them. Defendants engaged

 5   in this misconduct to conceal NVIDIA’s true condition from the investing public and to support the

 6   artificially inflated prices of the Company’s stock.

 7           259.    Lead Plaintiffs and the Class have suffered damages in that, in reliance on the integrity of

 8   the market, they purchased NVIDIA stock and were harmed when the truth about NVIDIA negatively

 9   impacted the price of those securities. Lead Plaintiffs and the Class would not have purchased NVIDIA

10   stock at the prices they paid, or at all, had they been aware of the truth about NVIDIA.

11           260.    As a direct and proximate result of Defendants’ wrongful conduct, Lead Plaintiffs and the

12   other members of the Class suffered harm in connection with their respective purchases of the Company’s

13   stock during the Class Period.

14           261.    By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act and

15   Rule 10b-5 promulgated thereunder.

16
                                                     COUNT II
17
                                 For Violations of Section 20(a) of the Exchange Act
18                                      (Against the Individual Defendants)

19           262.    Lead Plaintiffs repeat, incorporate, and reallege each and every allegation set forth above

20   as if fully set forth herein.

21           263.    The Individual Defendants acted as controlling persons of NVIDIA within the meaning of

22   Section 20(a) of the Exchange Act. By virtue of their high-level positions, participation in and/or

23   awareness of the Company’s operations, direct involvement in the day-to-day operations of the Company,

24   and/or intimate knowledge of the Company’s actual performance, and their power to control public

25   statements about NVIDIA, the Individual Defendants had the power and ability to control the actions of

26   NVIDIA and its employees. By reason of such conduct, the Individual Defendants are liable pursuant to

27   Section 20(a) of the Exchange Act.

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 1   XII.   PRAYER FOR RELIEF
 2          WHEREFORE, Lead Plaintiffs pray for relief and judgment as follows:
 3          A.     Declaring the action to be a proper class action pursuant to Rule 23(a) and (b)(3) of the
 4                 Federal Rules of Civil Procedure on behalf of the Class defined herein;

 5          B.     Awarding all damages and other remedies available under the Exchange Act in favor of

 6                 Lead Plaintiffs and all members of the Class against Defendants in an amount to be proven

 7                 at trial, including interest thereon;

 8          C.     Awarding Lead Plaintiffs and the Class their reasonable costs and expenses incurred in this

 9                 action, including attorneys’ fees and expert fees; and

10          D.     Such other and further relief as the Court may deem just and proper.
11   XIII. JURY DEMAND
12          Lead Plaintiffs demand a trial by jury.
13   Dated: May 13, 2020                           Respectfully submitted,
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